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                      EXHIBIT A

            (ABL Commitment Letter Motion)
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                        )
In re:                                                                  )   Chapter 11
                                                                        )
CARESTREAM HEALTH, INC., et al.,1                                       )   Case No. 22-10778 (JKS)
                                                                        )
                                    Debtors.                            )   (Joint Administration Requested)
                                                                        )

                     DEBTORS’ MOTION FOR ENTRY OF AN
        ORDER (I) APPROVING THE DEBTORS’ ENTRY INTO THE EXIT ABL
      FACILITY COMMITMENT DOCUMENTS, (II) AUTHORIZING PAYMENT OF
     FEES AND EXPENSES THEREUNDER, AND (III) GRANTING RELATED RELIEF

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

 respectfully state as follows in support of this motion:2

                                             Preliminary Statement

          1.       On August 21, 2022, after extensive negotiations, the Debtors, JPMorgan Chase

 Bank, N.A. (“JPM” or the “Agent,” as applicable), and the other lenders party thereto (together

 with JPM, collectively, the “Exit ABL Backstop Parties”) entered into (a) a commitment

 letter (together with all exhibits and attachments thereto, the “Commitment Letter”), attached

 hereto as Exhibit B, which documents the Exit ABL Backstop Parties’ commitment to provide a

 senior secured asset-based revolving credit facility to the Debtors in an aggregate principal


 1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
      Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
      Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
      Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co.
      (3232). The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.
 2
      A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
      the Debtors’ chapter 11 cases, is set forth in the Declaration of Scott H. Rosa, Chief Financial Officer of
      Carestream Health, Inc., in Support of Chapter 11 Petitions and First Day Motions
      (the “First Day Declaration”), filed contemporaneously herewith. Capitalized terms used but not defined in this
      motion have the meanings ascribed to them in the First Day Declaration or in the contemporaneously filed
      Joint Prepackaged Chapter 11 Plan of Reorganization of Carestream Health, Inc. and Its Debtor Affiliates
      (as amended, supplemented, or otherwise modified from time to time, the “Plan”), as applicable.
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amount of up to $85 million (the “Exit ABL Facility”), and (b) related fee letters (attached hereto

as Exhibits C, D, and E).

       2.      The Commitment Letter is the product of extensive good faith, arm’s-length

negotiations between the Debtors and the Exit ABL Backstop Parties. The Commitment Letter

provides that the Exit ABL Backstop Parties will continue to conduct legal and business

diligence, prepare and negotiate the definitive documentation for the Exit ABL Facility, and

ultimately fund at least a portion of the Exit ABL Facility, subject to confirmation of the Plan

and other conditions precedent detailed in the Commitment Letter.          In exchange for such

obligations, the Commitment Letter includes customary provisions for reimbursement of

reasonable and documented costs and expenses related to the Exit ABL Facility, payment of

certain other nonrefundable fees related to the Exit ABL Facility as set forth in the Fee Letters

(as defined in the Commitment Letter, and together with the Commitment Letter, the “Exit ABL

Facility Commitment Documents”), and an indemnification (such provisions, collectively,

the “Expense Reimbursement and Indemnification”).

       3.      The Exit ABL Backstop Parties’ commitment to provide the Exit ABL Facility is

conditioned on the Debtors’ seeking approval of the Exit ABL Facility Commitment Documents

at the outset of these chapter 11 cases through this motion, and the Debtors’ performance under

the Exit ABL Facility Commitment Documents is necessary to secure the Exit ABL Backstop

Parties’ commitment to provide the Exit ABL Facility. In the Debtors’ business judgment, the

Exit ABL Backstop Parties’ exit financing proposal is the best available proposal, and allows the

Debtors to embark on these chapter 11 cases with exit financing already secured. Additionally,

the Debtors’ ability to consummate their proposed chapter 11 plan of reorganization depends on

the availability of the exit financing provided by the Exit ABL Facility. Accordingly, the


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Debtors seek approval of their entry into the Exit ABL Facility Commitment Documents and to

perform thereunder to facilitate their prompt emergence from chapter 11.

                                        Relief Requested

       4.      The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”), (a) approving the Debtors’ entry into and performance under the Exit

ABL Facility Commitment Documents; (b) authorizing the Debtors’ payment of the Exit ABL

Facility Obligations (as defined below); and (c) granting related relief. In support of this motion,

the Debtors submit the Declaration of Scott H. Rosa in Support of the Debtors’ Motion for Entry

of an Order (I) Approving the Debtors’ Entry Into the Exit ABL Facility Commitment

Documents, (II) Authorizing Payment of Fees and Expenses Thereunder, and (III) Granting

Related Relief (the “Rosa Declaration”), filed contemporaneously herewith.

                                     Jurisdiction and Venue

       5.      The United States Bankruptcy Court for the District of Delaware (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012. The Debtors confirm their consent, pursuant to rule 9013-1(f) of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), to the entry of a final order by the Court in connection

with this motion to the extent that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution.

       6.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       7.      The statutory bases for the relief requested herein are sections 363 and 503(b) of

title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), rule 6004 of
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the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rules 2002-1

and 9013-1.

                                          Background

       8.      The Debtors, together with their non-Debtor affiliates (collectively, “Carestream”

or the “Company”), are a leading provider of medical imaging and non-destructive testing

products with over 100 years of industry experience. The Company is a partner of choice to

approximately 8,000 direct customers and approximately 900 dealers in more than 130 countries.

Its products are used by prominent health systems, hospitals, imaging centers, specialty practices

and industrial companies worldwide.      Headquartered in Rochester, New York, Carestream

employs a global workforce of approximately 3,410 employees with approximately

180 contractors.

       9.      Carestream, like many businesses, faced significant headwinds in 2020,

principally as a result of changing product and customer trends and the global COVID-19

pandemic, which, in light of the Debtors’ capital structure, placed substantial strain on the

Debtors’ businesses. To alleviate the strain, the Debtors executed a voluntary amend-and-extend

transaction in early 2020 that extended the maturities of their first lien revolver and term loan

and second lien term loan debt. The amend-and-extend transaction provided the Debtors with

time to meaningfully examine various strategic alternatives, including sale transactions and

debt-for-equity exchanges to deleverage the Company.

       10.     Ultimately, the Debtors determined that a substantial deleveraging combined with

new capital investment was the best path forward for their business.          To implement the

foregoing, the Debtors negotiated, and ultimately agreed, with a majority of their prepetition

secured lenders and their equity sponsor on the terms of a comprehensive financial restructuring.

The terms of the proposed restructuring are memorialized in a restructuring support agreement
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(the “RSA”) that serves as the foundation of the Debtors’ prepackaged Plan. Under the RSA, the

Debtors will eliminate approximately $470 million of prepetition funded debt and raise up to

$75 million of new equity capital, while also leaving general unsecured claims unimpaired. As

of August 23, 2022 (the “Petition Date”), the Debtors have fully solicited their Plan, which was

accepted by all creditor classes entitled to vote, including lenders collectively holding

approximately 73% of the Debtors’ prepetition first lien revolver and term loan debt and

approximately 98% of the Debtors’ prepetition second lien term loan debt.

       11.     On the Petition Date, each of the Debtors filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code. The Debtors have also filed a motion requesting joint

administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b). The Debtors are

operating their businesses and managing their properties as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. No request for the appointment of a trustee

or examiner has been made in these chapter 11 cases and no official committees have been

appointed or designated.

                       The Exit ABL Facility and Related Obligations

       12.     The Plan contemplates that the reorganized Debtors will enter into the Exit ABL

Facility on the effective date of the Plan. The Exit ABL Facility will allow the Debtors to

replace or continue their outstanding letters of credit, have access to certain existing revolving

commitments, and provide additional borrowing availability to fund go-forward operations

following their reorganization and emergence from chapter 11. Key provisions of the Exit ABL

Facility include:




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                                     Select Terms of the Exit ABL Facility3

                    •    Carestream Health, Inc. (as Borrower), a direct parent entity of the Borrower
     Company             (Holdings), and each domestic, Canadian, and material foreign subsidiary of the
      Parties            Borrower, with exclusions consistent with the existing prepetition facilities
                         (as Guarantors)

                    •    JPMorgan Chase Bank, Credit Suisse AG, Barclays, and Apollo Credit Master
      Lenders            Fund Ltd. (as the ABL Commitment Parties) and certain other prepetition
                         revolving lenders

                    •    Asset-based revolving facility in the amount of $85 million
                         o   Closing date maximum draw of $47,424,613.62
      Facility
                    •    Letters of Credit up to $15 million
                         o   No Letters of Credit issued on Closing Date

                    •    Borrower may request increase not to exceed the greater of: (a) the sum of
                         (i) $25 million plus (ii) any voluntary prepayments resulting in commitment reductions
    Commitment           under the ABL Facility and (b) the excess of the Borrowing Base over the aggregate
      Increase           amount of ABL Commitments
                    •    Each ABL Lender can elect to have its commitment reduced by an amount equal to
                         40% of such increase

                    •    Interest Rate:
                         o   ABR (2% floor) + 1.00% cash, payable quarterly

       Rate              o   SOFR + 0.10% (1% floor) + 2.00% cash, payable at elected period of one, three or
                             six months
                    •    Applicable Margin subject to adjustment after the first two full fiscal quarters after the
                         Closing Date

     Maturity       •    4.5 years after the Closing Date

                    •    Usual and customary covenants and reporting requirements
    Covenants /
                    •    Fixed charge coverage ratio financial covenant
    Reporting
                    •    Cash dominion and sweep in connection with certain defaults or availability conditions

                    •    Commitment Fee:        0.50% per annum on the average daily unused portion of the
                         ABL Facility
        Fees
                    •    Fronting Fee: 0.125% on the face amount of each Letter of Credit, payable quarterly
                    •    Letter of Credit Fee




3
    This table is provided for reference purposes only. The specific terms of the Exit ABL Facility are set forth in
    greater detail in the Commitment Letter, which documents the Exit ABL Backstop Parties’ commitment to
    provide the Exit ABL Facility.

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        13.      The Exit ABL Facility Commitment Documents also provide for the Debtors’

payment of the Exit ABL Facility Obligations, as summarized below (collectively,

the “Exit ABL Facility Obligations”):4

                 a.      Expense Reimbursement. The reorganized Debtors will reimburse the
                         Exit ABL Backstop Parties for all reasonable and documented out-of-
                         pocket expenses (including due diligence expenses, field exam and
                         appraisal expenses, travel expenses, and reasonable and documented fees,
                         charges and disbursements of counsel (including Simpson Thacher &
                         Bartlett LLP and Freshfields Bruckhaus Deringer US LLP) and of local
                         counsel in each appropriate jurisdiction incurred in connection with the
                         Exit ABL Facility and any related documentation (including the Exit ABL
                         Facility Commitment Documents, the definitive documentation relating to
                         the ABL Facility, the Plan or the Cases).

                 b.      Indemnification. In connection with the Debtors’ acceptance of the Exit
                         ABL Facility Commitment Documents, the Debtors have agreed to
                         indemnify the Exit ABL Backstop Parties and certain related parties from
                         liabilities and related expenses to which any such indemnified person may
                         become subject arising out of or in connection with the Exit ABL Facility
                         Commitment Documents, the Exit ABL Facility, the use of the proceeds
                         thereof, any related transaction or the activities performed or services
                         furnished pursuant to the Exit ABL Facility Commitment Documents or
                         the role of any Exit ABL Commitment Party, unless otherwise resulting
                         from the willful misconduct or gross negligence of such indemnified
                         party, subject to the terms of the Commitment Letter.

                 c.      Arranger / Structuring Fees. Annual administration fee (payable on the
                         effective date of the Plan and each anniversary thereafter) to the Agent and
                         one-time arrangement and structuring fees, payable on the Closing Date.

                 d.      Commitment / Upfront Fees. Commitment fee equal to a percentage of
                         the commitments of each Exit ABL Commitment Party in the Exit ABL
                         Facility payable on the Closing Date.

        14.      In the Debtors’ business judgement, the Exit ABL Facility Obligations are a

reasonable price to pay for the Exit ABL Backstop Parties’ commitment to provide the Exit ABL

Facility given the benefits arising therefrom and the Debtors’ ability to promptly emerge from

4
    Capitalized terms used but not defined in this summary have the meanings given to them in the Commitment
    Letter. The full provisions governing the reimbursement and payment of fees and expenses are set forth in the
    Commitment Letter and Fee Letters. If any description set forth herein is in conflict with the Commitment
    Letter, the Commitment Letter shall control.

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chapter 11 with sufficient liquidity to fund Plan distributions and the reorganized Debtors’ go-

forward businesses. Moreover, the Commitment Letter expressly contemplates that the Debtors

use reasonable best efforts to seek approval of their entry into the Exit ABL Facility

Commitment Documents at the outset of these chapter 11 cases in order to secure the benefit of

the commitments contemplated therein:

               It is a condition to the Commitment Parties’ commitments and
               agreements hereunder that (a) you use reasonable best efforts to obtain
               entry of an order (in form and substance reasonably satisfactory to the
               Commitment Parties) by the Bankruptcy Court approving the
               Borrower’s entry into to this Commitment Letter and the Fee Letters
               and authorizing the payment of fees and expenses and the granting of
               indemnification provided for in this Commitment Letter and the
               payment of fees provided for in the Fee Letters) at the initial hearing for
               relief in the Cases; provided, however, that to the extent such an order
               is not entered by the Bankruptcy Court at the initial hearing for relief in
               the Cases, it shall be a condition to the Commitment Parties’
               commitments and agreements hereunder that such an order is entered
               within ten (10) calendar days of the date the Cases are commenced.

       15.     Accordingly, the Debtors seek approval of their entry into the Exit ABL Facility

Commitment Documents.

                                         Basis for Relief

I.     The Debtors’ Entry Into and Performance Under the Exit ABL Facility
       Commitment Documents and Payment of the Exit ABL Facility Obligations Are
       Sound Exercises of the Debtors’ Business Judgment.

       16.     Section 363(b) of the Bankruptcy Code provides, in relevant part, that a debtor,

“after notice and a hearing, may use, sell, or lease, other than in the ordinary course of business,

property of the estate.” 11 U.S.C. § 363(b)(1). Courts in this circuit will approve the use, sale or

lease of estate property outside of the ordinary course if the proposed action is supported by a

valid business reason. See In re Martin, 91 F.3d 389, 395 (3d Cir. 1996) (“[U]nder normal

circumstances the court would defer to the [debtor’s] judgment so long as there is a legitimate

business justification.”); In re Montgomery Ward Holding Corp., 242 B.R. 147, 153

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(D. Del. 1999) (“[C]ourts require the debtor to show that a sound business purpose justifies such

actions.”); In re Del. & Hudson Ry. Co., 124 B.R. 169, 176 (D. Del. 1991) (noting section 363

requires “a sound business purpose” for proposed use of property).

       17.     If a valid business reason exists for non-ordinary-course use of estate property,

then the debtor’s business decision to so use estate property is entitled to judicial deference under

the business judgment rule. See, e.g., Martin, 91 F.3d at 395; In re Bridgeport Holdings, Inc.,

388 B.R. 548, 567 (Bankr. D. Del. 2008). Under the business judgment rule, courts will approve

the debtor’s business decision to use estate property outside of the ordinary course of business

unless it is shown that such decision is the product of bad faith. See In re Tower Air, Inc.,

416 F.3d 229, 238 (3d Cir. 2005) (stating that overcoming the business judgment rule is a “near-

Herculean task,” in that it requires a showing that the business decision in question “go[es] so far

beyond the bounds of reasonable business judgment that its only explanation is bad faith”).

       18.     Here, the Debtors’ entry into and performance under the Exit ABL Facility

Commitment Documents is supported by valid and sound business reasons. The Exit ABL

Facility Commitment Documents are the product of extensive good faith, arm’s-length

negotiations between the Debtors and the Exit ABL Backstop Parties and allow the Debtors to

commence these cases with a line of sight to emerging with a well-capitalized balance sheet.

Through this motion, the Debtors seek court approval of the Exit ABL Facility Commitment

Documents to reciprocate the Exit ABL Backstop Parties’ commitment at the outset of these

chapter 11 cases to finalize and document the Exit ABL Facility during the pendency of these

cases, and ultimately fund the Exit ABL Facility upon emergence. Absent the Debtors’ entry

into and performance under the Exit ABL Facility Commitment Documents, including payment

of the Exit ABL Facility Obligations, the Debtors would likely be unable to secure the Exit ABL


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Backstop Parties’ commitment to provide the Exit ABL Facility, therefore jeopardizing the

Debtors’ ability to conclude the chapter 11 cases within the timeframe contemplated by the DIP

Orders and the RSA.       Rather than delay ongoing work on the Exit ABL Facility until after

confirmation of the Plan and potentially risk defaulting on the milestones contained in the RSA

and the DIP Orders, the Debtors submit that it is in the best interests of all stakeholders for the

Debtors to continue advancing documentation of the Exit ABL Facility as soon as possible.

        19.     In light of the foregoing, and given the importance of the Exit ABL Facility to the

Debtors’ successful reorganization, the Debtors’ entry into and performance under the Exit ABL

Facility Commitment Documents constitutes a sound exercise of the Debtors’ business judgment

and is in the best interests of the Debtors’ estates.

II.     The Expense Reimbursement and Indemnification Should Constitute Allowed
        Administrative Expenses Pursuant to Section 503(b) of the Bankruptcy Code.

        20.     The Expense Reimbursement and Indemnification should be approved under

section 503(b) of the Bankruptcy Code as necessary to preserve the value of the Debtors’ estates.

In Calpine Corp. v. O’Brien Envtl. Energy, Inc. (In re O’Brien Envtl. Energy, Inc.), 181 F.3d 527

(3d Cir. 1999), the Third Circuit stated: “the allowability of break-up fees, like that of other

administrative expenses, depends upon the requesting party’s ability to show that the fees were

actually necessary to preserve the value of the estate.” Id. (emphasis added). Because the Exit

ABL Backstop Parties require the Expense Reimbursement and Indemnification to enter into the

Commitment Letter, and because the Exit ABL Facility is essential to the Debtors’ ability to

consummate the Plan in accordance with the timeframe set forth in the DIP Orders and RSA, the

Expense Reimbursement and Indemnification are “necessary to preserve the value of the

estate[s].”




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       21.     The Expense Reimbursement and Indemnification are designed to fairly

compensate the Exit ABL Backstop Parties for their efforts to negotiate and finalize

documentation of the Exit ABL Facility during the pendency of these chapter 11 cases. The Exit

ABL Backstop Parties have already committed substantial time and resources in connection with

the Exit ABL Facility, and will only continue to do so with the assurance of the relief requested

in this motion. The Debtors believe that the Exit ABL Facility is critical to the Debtors’

successful emergence, but there remains a risk, however limited, that the Exit ABL Facility will

not be consummated.      Accordingly, the Expense Reimbursement and Indemnification will

protect the Exit ABL Backstop Parties during the pre-closing period and is a necessary

inducement to the Exit ABL Backstop Parties’ agreement to enter into the Commitment Letter.

Importantly, the Exit ABL Facility ensures that the Debtors have the necessary financing to

consummate the Plan, if approved, and emerge expeditiously from chapter 11 with a deleveraged

balance sheet—a tremendous benefit to the Debtors’ estates.

       22.     Moreover, because the Plan provides for unimpaired treatment for all allowed

unsecured claims, the Debtors submit that approval of the Expense Reimbursement and

Indemnification does not prejudice any junior creditors, particularly in light of the benefits of

securing the Exit ABL Backstop Parties’ commitment at this time. Accordingly, the Debtors

request that the Court grant administrative expense status to the Expense Reimbursement

and Indemnification.

                  The Requirements of Bankruptcy Rule 6003 Are Satisfied

       23.     Bankruptcy Rule 6003 empowers a court to grant certain relief within the first

21 days after the petition date only “to the extent that relief is necessary to avoid immediate and

irreparable harm.” For the reasons discussed above, the Debtors believe immediate approval of

the Exit ABL Facility Commitment Documents is necessary to secure the commitment of the
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Exit ABL Backstop Parties and the failure to receive the requested relief during the first 21 days

of these chapter 11 cases would extinguish the Debtors’ prepetition efforts to sign up the

Commitment Letter and severely disrupt the Debtors’ efforts to expeditiously conclude these

chapter 11 cases at this important juncture. The requested relief is necessary for the Debtors to

preserve the ongoing value of their operations, and maximize the value of their estates for the

benefit of all stakeholders.    The Debtors have demonstrated that the requested relief is

“necessary to avoid immediate and irreparable harm,” as contemplated by Bankruptcy

Rule 6003, and the Court should grant the requested relief.

                                     Reservation of Rights

       24.     Nothing contained in this motion or any order granting the relief requested in this

motion, and no action taken pursuant to the relief requested or granted (including any payment

made in accordance with any such order), is intended as or shall be construed or deemed to be:

(a) an admission as to the amount of, basis for, or validity of any claim against the Debtors under

the Bankruptcy Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any

other party in interest’s right to dispute any claim on any grounds; (c) a promise or requirement

to pay any particular claim; (d) an implication, admission or finding that any particular claim is

an administrative expense claim, other priority claim or otherwise of a type specified or defined

in this motion or any order granting the relief requested by this motion; (e) a request or

authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to section 365

of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability or perfection

of any lien on, security interest in, or other encumbrance on property of the Debtors’ estates; or

(g) a waiver or limitation of any claims, causes of action or other rights of the Debtors or any




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other party in interest against any person or entity under the Bankruptcy Code or any other

applicable law.

                       Waiver of Bankruptcy Rule 6004(a) and 6004(h)

       25.      To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

sale, or lease of property under Bankruptcy Rule 6004(h).

                                               Notice

       26.      The Debtors will provide notice of this motion to the following parties or their

respective counsel: (a) the U.S. Trustee for the District of Delaware; (b) the holders of the

thirty largest unsecured claims against the Debtors (on a consolidated basis); (c) counsel to the

DIP Agent; (d) counsel to the First Lien Agent and the Second Lien Agent; (e) counsel to the

Crossover Group; (f) counsel to the Agent; (g) the office of the attorney general for each of the

states in which the Debtors operate; (h) the United States Attorney’s Office for the District of

Delaware; (i) the Internal Revenue Service; and (j) any party that has requested notice pursuant

to Bankruptcy Rule 2002. As this motion is seeking “first day” relief, within two business days

of the hearing on this motion, the Debtors will serve copies of this motion and any order entered

in respect to this motion as required by Local Rule 9013-1(m). The Debtors submit that, in light

of the nature of the relief requested, no other or further notice need be given.

                                         No Prior Request

       27.      No prior request for the relief sought in this motion has been made to this or any

other court.

                           [Remainder of page intentionally left blank.]




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         WHEREFORE, the Debtors respectfully request entry of the Order, substantially in the form

 attached hereto as Exhibit A, (a) granting the relief requested herein and (b) granting such other

 relief as is just and proper.

Dated: August 23, 2022               /s/ Laura Davis Jones
Wilmington, Delaware                 Laura Davis Jones (DE Bar No. 2436)
                                     Timothy P. Cairns (DE Bar No. 4228)
                                     Edward Corma (DE Bar No. 6718)
                                     PACHULSKI STANG ZIEHL & JONES LLP
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                                     -and-

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                                     -and-

                                     Nicole L. Greenblatt, P.C. (pro hac vice pending)
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                                     Proposed Co-Counsel for the Debtors and Debtors in Possession
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                        Exhibit A

                     Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                       )
In re:                                                                 )   Chapter 11
                                                                       )
CARESTREAM HEALTH, INC., et al.,1                                      )   Case No. 22-10778 (JKS)
                                                                       )
                                   Debtors.                            )   (Joint Administration Requested)
                                                                       )
                                                                       )   Re: Docket No. _

        ORDER (I) APPROVING THE DEBTORS’ ENTRY INTO THE EXIT
   ABL FACILITY COMMITMENT DOCUMENTS, (II) AUTHORIZING PAYMENT
 OF FEES AND EXPENSES THEREUNDER, AND (III) GRANTING RELATED RELIEF
         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

 possession (collectively, the “Debtors”) for entry of an order (this “Order”), (a) approving the

 Debtors’ entry into and performance under the Exit ABL Facility Commitment Documents;

 (b) authorizing the Debtors to pay the Exit ABL Facility Obligations; and (c) granting related

 relief, all as more fully set forth in the Motion; and upon the First Day Declaration and the Rosa

 Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334 and the Amended Standing Order of Reference from the United States District Court for the

 District of Delaware, dated February 29, 2012; and this Court having found that this is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this Court may

 enter a final order consistent with Article III of the United States Constitution; and this Court

 having found that venue of this proceeding and the Motion in this district is proper pursuant to


 1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
     Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
     Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
     Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co.
     (3232). The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.
 2
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on the

Motion were appropriate under the circumstances and no other notice need be provided; and this

Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish

just cause for the relief granted herein; and upon all of the proceedings had before this Court; and

after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.      The Motion is granted as set forth in this Order.

        2.      The Debtors’ entry into the Exit ABL Facility Commitment Documents, and all

terms, conditions, and covenants set forth therein, are hereby approved.

        3.      The Debtors are authorized, but not directed, to fully perform their obligations as

and when they are incurred and come due under the Exit ABL Facility Commitment Documents,

including incurring and paying the Exit ABL Facility Obligations, in each case on the terms and

subject to the conditions set forth in the Exit ABL Facility Commitment Documents.

        4.      The Expense Reimbursement and Indemnification are each necessary to preserve

the value of the Debtors’ estates and shall each be treated as an allowed administrative expense

under section 503(b) of the Bankruptcy Code

        5.      Nothing contained in the Motion or this Order, and no action taken pursuant to the

relief requested or granted (including any payment made in accordance with this Order), is

intended as or shall be construed or deemed to be: (a) an admission as to the amount of, basis


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for, or validity of any claim against the Debtors under the Bankruptcy Code or other applicable

nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

implication, admission or finding that any particular claim is an administrative expense claim,

other priority claim or otherwise of a type specified or defined in the Motion or this Order; (e) a

request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability or

perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

estates; or (g) a waiver or limitation of any claims, causes of action or other rights of the Debtors

or any other party in interest against any person or entity under the Bankruptcy Code or any

other applicable law.

       6.        The Debtors are authorized, but not directed, to issue postpetition checks, or to

effect postpetition fund transfer requests, in replacement of any checks or fund transfer requests

that are dishonored as a consequence of these chapter 11 cases with respect to prepetition

amounts owed in connection with the relief granted herein.

       7.        The Debtors have demonstrated that the requested relief is “necessary to avoid

immediate and irreparable harm,” as contemplated by Bankruptcy Rule 6003.

       8.        Nothing in this Order authorizes the Debtors to accelerate any payments not

otherwise due.

       9.        Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

satisfied by such notice.


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       10.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       11.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       12.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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                        Exhibit B

                    Commitment Letter
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                                                                                          Execution Version


          JPMORGAN CHASE BANK, N.A.                                   CREDIT SUISSE AG
               383 Madison Avenue                                    Eleven Madison Avenue
            New York, New York 10179                                New York, New York 10010

                    BARCLAYS                                 APOLLO CREDIT MASTER FUND LTD.
                 745 Seventh Avenue                                   9 West 57th Street
              New York, New York 10019                            New York, New York 10019

                                                                                            August 21, 2022


Carestream Health, Inc.
150 Verona Street
Rochester, New York 14608
Attention: Scott Rosa and Robert Johnson

                                            Commitment Letter

Ladies and Gentlemen:

         You have advised JPMorgan Chase Bank, N.A. (“JPMorgan Chase Bank”), Credit Suisse AG
(acting through such of its affiliates or branches as it deems appropriate, “CS”), Barclays Bank PLC
(“Barclays”) and Apollo Credit Master Fund Ltd. (“Apollo” and, together with JPMorgan Chase Bank, CS
and Barclays, the “Commitment Parties”, “us” or “we”) that Carestream Health Holdings, Inc., a Delaware
corporation (“Holdings”), Carestream Health, Inc., a Delaware corporation (the “Borrower”) and certain
direct and indirect subsidiaries of Holdings (collectively, “you” or the “Company”) (i) intend to commence
voluntary cases (the “Cases”) under Chapter 11 of the United States Bankruptcy Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), (ii)
expect the Company and its subsidiaries to be reorganized pursuant to the prepackaged Chapter 11 plan of
reorganization filed by the Company on or around August 22, 2022, which shall be in substantially the form
provided to the Commitment Parties on August 19, 2022 (as amended, waived or supplemented in a manner
that is not materially adverse to the Lenders (as defined below) or the Commitment Parties and their
affiliates (including in their capacity as Prepetition Lenders and Prepetition Agent to the Prepetition Credit
Agreement (each as defined below)), the “Plan”) and (iii) intend to obtain a new asset-based loan facility
in the amount of $85,000,000 (the “ABL Facility”), with the proceeds of the ABL Facility to be used to,
among other things, refinance a portion of the revolving debt outstanding under that certain Amended and
Restated Credit Agreement (First Lien), dated as of June 7, 2013, among Holdings, the Borrower, the
Lenders (as defined therein, the “Prepetition Lenders”) and other parties from time to time parties thereto
and Credit Suisse AG, Cayman Islands Branch, as administrative agent (the “Prepetition Agent”) (as
amended on June 9, 2017, June 22, 2017, December 27, 2018, April 11, 2019, January 29, 2020 and May
8, 2020, and as amended, restated or otherwise modified from time to time, the “Prepetition First Lien
Credit Agreement”). “Transactions” means the entry into the definitive financing documents in respect of
the ABL Facility, the initial borrowings under the ABL Facility and the use of proceeds thereof.

    1. Commitment

        In connection with the Transactions, (a) JPMorgan Chase Bank is pleased to advise you of its
several and not joint commitment to provide            of commitments in respect of the ABL Facility,
(b) CS is pleased to advise you of its several and not joint commitment to provide                    of
commitments in respect of the ABL Facility, (c) Barclays is pleased to advise you of its several and not
joint commitment to provide             of commitments in respect of the ABL Facility and (d) Apollo is




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pleased to advise you of its several and not joint commitment to provide               of commitments in
respect of the ABL Facility, in each case, upon the terms and subject solely to the conditions set forth or
referred to in Section 5 of this commitment letter (as amended, waived or supplemented in accordance with
the terms of Section 9 hereof, the “Commitment Letter”) and the section of the Summary of Terms and
Conditions attached hereto as Exhibit A (the “Term Sheet”) found under the heading “Certain Conditions -
Initial Conditions” and in the Conditions Exhibit attached hereto as Exhibit B (the “Conditions Annex”).

         The commitments of the Commitment Parties in respect of the ABL Facility will be reduced upon
the election via the ABL Roll Election Form of Holders (as defined in the Plan as in effect on the date
hereof) of Allowed (as defined in the Plan) First Lien Revolving Claims Holders (as defined in the Plan)
(“Prepetition Revolving Lenders”) (in each case, other than the Commitment Parties) to participate in the
ABL Facility, which commitment reduction shall be allocated among the Commitment Parties in
accordance with the provisions in the Term Sheet under the heading “Commitment Reductions”.

    2. Titles and Roles

         It is agreed that (i) each of JPMorgan Chase Bank and Barclays will act as a joint lead arranger and
bookrunner for the ABL Facility (acting in such capacity, the “Lead Arrangers”); provided that you agree
that JPMorgan Chase Bank may perform its responsibilities hereunder through its affiliate, J.P. Morgan
Securities LLC and (ii) JPMorgan Chase Bank will act as sole administrative agent for the ABL Facility
(acting in such capacity, the “Administrative Agent”).

        It is further agreed that JPMorgan will have “left” placement in any marketing materials or other
documentation used in connection with the ABL Facility and shall hold the leading role and responsibilities
customarily associated with such “top left” placement. You agree that no other agents, co-agents, arrangers,
co-arrangers, bookrunners, co-bookrunners, managers or co-managers will be appointed, no other titles will
be awarded and no compensation will be paid (in each case, other than that expressly contemplated by this
Commitment Letter and the Fee Letters referred to below) in connection with the ABL Facility unless you
and we shall so agree

    3. Information

         You hereby represent and warrant that (a) all written information, other than the Projections (as
defined below) and information of a general economic or industry specific nature (the “Information”), that
has been or will be made available to any Commitment Party by you or by any of your representatives on
your behalf in connection with the transactions contemplated hereby, when taken as a whole after giving
effect to all supplements and updates provided thereto, does not or will not, when furnished to us, contain
any untrue statement of a material fact or omit to state a material fact necessary in order to make the
statements contained therein, when taken as a whole, not materially misleading in light of the circumstances
under which such statements are made and (b) the financial projections, including financial estimates,
forecasts and other forward-looking information (the “Projections”) that have been or will be made
available to any Commitment Party by you or any of your representatives on your behalf in connection with
the transactions contemplated hereby have been or will be prepared in good faith based upon assumptions
that are believed by you to be reasonable at the time furnished to us (it being recognized by the Commitment
Parties that Projections are not to be viewed as facts, Projections are subject to significant uncertainties and
contingencies, many of which are beyond your control, that no assurance can be given that any particular
Projections will be realized and that actual results during the period or periods covered by any such
Projections may differ from the Projections, and such differences may be material). You agree that if, at
any time prior to the Closing Date, you become aware that any of the representations in the preceding
sentence would be incorrect if such Information or Projections were furnished at such time and such



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representations were remade, in any material respect, then you will promptly supplement the Information
and the Projections so that such representations when remade would be correct, in all material respects,
under those circumstances. You understand that in arranging the ABL Facility we may use and rely on the
Information and Projections without independent verification thereof.

         In connection with our distribution to prospective Lenders of any marketing materials and, upon
our reasonable written request, any other Information, you will execute and deliver to us a customary
authorization letter authorizing such distribution and, in the case of any marketing materials consisting
exclusively of information that is not material non-public information (within the meaning of United States
federal securities laws and any state securities laws) with respect to you and your affiliates (such
information, “Non-MNPI”), representing that it only contains Non-MNPI. Such marketing materials will
be accompanied by a disclaimer exculpating you and us with respect to any use thereof and of any related
Information by the recipients thereof. You also agree to identify information to be distributed that contains
only Non-MNPI by clearly and conspicuously marking the same as “PUBLIC”. By marking any documents,
information or other data “PUBLIC”, you shall be deemed to have authorized the Commitment Parties and
the prospective Lenders to treat such documents, information or other data as containing Non-MNPI. You
also agree that all of the information that is not specifically identified as “PUBLIC” shall be treated as being
suitable for distribution to private lenders.

        You also understand and acknowledge that we may provide to market data collectors, such as
league tables, or other service providers to the lending industry, customary information regarding the
closing date, size, type, purpose of, and parties to, the ABL Facility.

    4. Fees

        As consideration for the commitments and agreements of the Commitment Parties hereunder, you
agree to pay or cause to be paid the nonrefundable fees described in the Commitment Fee Letter dated the
date hereof and delivered herewith (the “Commitment Fee Letter”), the Barclays Fee Letter dated the date
hereof and delivered herewith (the “Barclays Fee Letter”) and the Administrative Agent Fee Letter dated
the date hereof and delivered herewith (the “Administrative Agent Fee Letter”; and together with the
Commitment Fee Letter and the Barclays Fee Letter, the “Fee Letters”) on the terms and subject to the
conditions set forth therein.

         You agree to use commercially reasonable efforts to (a) obtain any necessary bankruptcy court
authorization for payment of the fees in the Fee Letters pursuant to orders in form and substance satisfactory
to the Commitment Parties and (b) maintain the confidentiality of the fee arrangements herein by seeking
authority to make any necessary filings either under seal or in redacted form acceptable to the Commitment
Parties and pursuant to section 107(b) of the Bankruptcy Code.

    5. Conditions

         Each Commitment Parties’ commitments and agreement hereunder are subject solely to the
satisfaction of the conditions expressly set forth in this Section 5, the Term Sheet under the heading “Certain
Conditions – Initial Conditions” and the Conditions Annex and there shall be no conditions to closing and
funding other than those expressly referred to in this Section 5.

        It is a condition to the Commitment Parties’ commitments and agreements hereunder that (a) you
use reasonable best efforts to obtain entry of an order (in form and substance reasonably satisfactory to the
Commitment Parties) by the Bankruptcy Court approving the Borrower’s entry into to this Commitment
Letter and the Fee Letters and authorizing the payment of fees and expenses and the granting of
indemnification provided for in this Commitment Letter and the payment of fees provided for in the Fee


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Letters) at the initial hearing for relief in the Cases; provided, however, that to the extent such an order is
not entered by the Bankruptcy Court at the initial hearing for relief in the Cases, it shall be a condition to
the Commitment Parties’ commitments and agreements hereunder that such an order is entered within ten
(10) calendar days of the date the Cases are commenced (the date such Cases are commenced, the “Petition
Date”), (b) within five (5) calendar days following the Petition Date, the Bankruptcy Court shall have
entered an interim order granting adequate protection to the Prepetition Lenders and Prepetition Agent and
authorizing the cash collateralization of the Letters of Credit (as defined in the Prepetition Credit
Agreement) in form and substance satisfactory to the Commitment Parties (the “Interim Order”), and (c)
by the date that is sixty (60) days following the Petition Date, the Bankruptcy Court shall have entered an
order granting the relief granted pursuant to the Interim Order on a final basis, and such order shall not have
reversed, stayed, modified or amended.

    6. Limitation of Liability, Indemnity, Settlement

         (a) You and we agree that (i) in no event shall any Commitment Party, its affiliates and its and their
respective officers, directors, employees, advisors, and agents (each, and including, without limitation, each
Commitment Party, a “Related Person”) or you or your affiliates and your and their respective officers,
directors, employees, advisors, and agents have any Liabilities (as defined below), on any theory of liability,
for any special, indirect, consequential or punitive damages incurred by us or you, or our or your affiliates
or our or your respective equity holders arising out of, in connection with, or as a result of, this Commitment
Letter, the Fee Letters or any other agreement or instrument contemplated hereby and (ii) no Related Person
shall have any Liabilities arising from, or be responsible for, the use by others of Information (as defined
below) or other materials (including, without limitation, any personal data) obtained through electronic,
telecommunications or other information transmission systems, including an Electronic Platform or
otherwise via the internet; provided that nothing in this clause (a) shall relieve you of any obligation you
may have to indemnify an Indemnified Person (as defined below), as provided in clause (b) below, against
any special, indirect, consequential or punitive damages asserted against such Indemnified Person by a third
party. You agree, to the extent permitted by applicable law, to not assert any claims against any Related
Person with respect to any of the foregoing. As used herein, the term “Liabilities” shall mean any losses,
claims (including intraparty claims), demands, damages or liabilities of any kind.

         (b) You agree (A) to (i) indemnify and hold harmless each Commitment Party, its affiliates and its
and their respective officers, directors, employees, advisors, and agents (each, and including, without
limitation, each Commitment Party, an “Indemnified Person”) from and against any and all Liabilities and
related expenses to which any such Indemnified Person may become subject arising out of or in connection
with this Commitment Letter, the ABL Facility, the use of the proceeds thereof, any related transaction or
the activities performed or services furnished pursuant to this Commitment Letter or the role of any
Commitment Party in connection therewith or in connection with any actual or prospective claim, litigation,
investigation, arbitration or administrative, judicial or regulatory action or proceeding in any jurisdiction
relating to any of the foregoing (including in relation to enforcing the terms of clause (a) above and the
terms of this clause (b)) (each, a “Proceeding”), regardless of whether or not any Indemnified Person is a
party thereto and whether or not such Proceeding is brought by you, your equity holders, affiliates, creditors
or any other person and (ii) reimburse each Indemnified Person upon demand for any documented, out-of-
pocket legal or other expenses incurred in connection with investigating or defending any of the foregoing,
regardless of whether or not in connection with any pending or threatened Proceeding to which any
Indemnified Person is a party, in each case as such expenses are incurred or paid (it being understood that
such legal expenses shall be limited to one firm of counsel for all such Indemnified Persons, taken as a
whole and, if necessary, of a single local counsel in each relevant jurisdiction (which may include a single
special counsel acting in multiple jurisdictions) of all such Indemnified Persons, taken as a whole (and, in
the case of an actual or perceived conflict of interest where the Indemnified Person affected by such conflict
informs you of such conflict, of another firm of counsel for all similarly affected Indemnified Persons);


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provided that the foregoing indemnity will not, as to any Indemnified Person, apply to any Liabilities or
related expenses to the extent they are found by a final, non-appealable judgment of a court of competent
jurisdiction to (I) primarily result from the willful misconduct or gross negligence of such Indemnified
Person in performing its activities or in furnishing its services under this Commitment Letter or (II) have
not resulted from an act or omission by you or any of your affiliates and have been brought by an
Indemnified Person against any other Indemnified Person (other than any claims against any Commitment
Party in its capacity or in fulfilling its role as a Commitment Party, an arranger or an agent or any similar
role hereunder) and (B) to reimburse each Commitment Party and their respective affiliates on written
demand for all reasonable and documented out-of-pocket expenses (including due diligence expenses, field
exam and appraisal expenses, travel expenses, and reasonable and documented fees, charges and
disbursements of counsel (including Simpson Thacher & Bartlett LLP and Freshfields Bruckhaus Deringer
US LLP) and of local counsel in each appropriate jurisdiction incurred in connection with the ABL Facility
and any related documentation (including this Commitment Letter, the Fee Letters and the definitive
documentation relating to the ABL Facility, the Plan or the Cases) or the administration, amendment,
modification or waiver thereof. The expense reimbursements and the indemnification provisions of this
Commitment Letter shall constitute administrative expenses under sections 503(b)(1) and 507(a)(2) of the
Bankruptcy Code in the Cases without the need to file any motion (other than any motion as may be
necessary to obtain the approvals of this Commitment Letter and the Fee Letters), without application or
proof of claim and notwithstanding any administrative claims bar date, and shall be immediately payable
in accordance with the terms hereof without further notice or order of the Bankruptcy Court.

         (c) You shall not be liable for any settlement of any Proceedings effected without your consent
(which consent shall not be unreasonably withheld or delayed), but if settled with your written consent or
if there is a final non-appealable judgment against an Indemnified Person in any such Proceedings, you
agree to indemnify and hold harmless each Indemnified Person from and against any and all losses, claims,
damages, liabilities and expenses by reason of such settlement or judgment in accordance with the
preceding paragraphs. You shall not, without the prior written consent of each Commitment Party affected
thereby and their respective affiliates affected thereby (which consent shall not be unreasonably withheld,
conditioned or delayed), effect any settlement of any pending or threatened Proceedings in respect of which
indemnity could have been sought hereunder by such Commitment Party unless (x) such settlement includes
an unconditional release of such Indemnified Person in form and substance reasonably satisfactory to such
Commitment Party from all liability on claims that are the subject matter of such Proceedings and (y) does
not include any statement as to or any admission of fault, culpability or a failure to act by or on behalf of
any Commitment Party or any injunctive relief or other non-monetary remedy. You acknowledge that any
failure to comply with your obligations under the preceding sentence may cause irreparable harm to the
Commitment Parties and the other Indemnified Persons.

    7. Sharing of Information, Affiliate Activities

        You acknowledge that each Commitment Party and their respective affiliates may be providing
debt financing, equity capital or other services (including but not limited to financial advisory services) to
other companies in respect of which you may have conflicting interests regarding the transactions described
herein and otherwise. None of the Commitment Parties will use confidential information obtained from
you by virtue of the transactions contemplated by this Commitment Letter or its other relationships with
you in connection with the performance by the Commitment Parties or their respective affiliates of services
for other companies, and none of the Commitment Parties will furnish such information to other companies
or customers. You also acknowledge that none of the Commitment Parties has any obligation to use in
connection with the transactions contemplated by this Commitment Letter, or to furnish to you, confidential
information obtained from other companies.




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         You acknowledge and agree that (i) the arrangement and other services described herein regarding
the Transactions are arm’s-length commercial transactions between you and your affiliates, on the one hand,
and the Commitment Parties, on the other hand, that do not directly or indirectly give rise to, nor do you
rely on, any fiduciary duty on the part of the Commitment Parties, (ii) no Commitment Party or any affiliate
thereof has provided any legal, accounting, regulatory or tax advice to you with respect to any of the
Transactions and you are not relying on the Commitment Parties for such advice, (iii) you have consulted
your own legal, accounting, regulatory and tax advisors to the extent you have deemed appropriate and you
are not relying on the Commitment Parties for such advice, (iv) you are capable of evaluating, and
understand and accept, the terms, risks and conditions of the transactions contemplated hereby and (v) you
waive, to the fullest extent permitted by law, any claims that you may have against any Commitment Party
and/or any Lead Arranger for breach of fiduciary duty or alleged breach of fiduciary duty arising solely by
virtue of this Commitment Letter and agree that, in such capacity, we shall not have any liability (whether
direct or indirect) to you in respect of a fiduciary duty claim arising under this Commitment Letter or to
any person asserting any such fiduciary claim arising under this Commitment Letter on behalf of or in right
of you, including your stockholders, employees or creditors.

         You further acknowledge that each of the Commitment Parties is a full service securities or banking
firm engaged in securities trading and brokerage activities as well as providing investment banking and
other financial services. In the ordinary course of business, each of the Commitment Parties may provide
investment banking and other financial services to, and/or acquire, hold or sell, for its own accounts and
the accounts of customers, equity, debt and other securities and financial instruments (including bank loans
and other obligations) of, you and other companies with which you may have commercial or other
relationships. With respect to any securities and/or financial instruments so held by the any of the
Commitment Parties or any of their customers, all rights in respect of such securities and financial
instruments, including any voting rights, will be exercised by the holder of the rights, in its sole discretion.

    8. Confidentiality

         This Commitment Letter is delivered to you on the understanding that neither this Commitment
Letter nor the Fee Letters nor any of their terms or substance shall be disclosed by you, directly or indirectly,
to any other person without our prior written consent except (a) you may provide a copy of the Commitment
Letter (including any exhibits and annexes thereto) to the Bankruptcy Court to obtain its approval for any
of the Borrower and its subsidiaries to execute, deliver and perform its obligations hereunder, so long as
any pleadings or filings with respect to this Commitment Letter shall be reasonably acceptable to the
Commitment Parties, (b) you may disclose the Fee Letters in a Bankruptcy Court filing in order to
implement the Transactions, provided that the Fee Letters may only be disclosed to the Bankruptcy Court,
the US Trustee and, on a confidential and “professional eyes only” basis, to (x) any statutorily appointed
committee in connection with the Cases and (y) the Ad Hoc Committee (as defined in the Plan) (provided
that the Fee Letters shall only be filed with the Bankruptcy Court (x) under seal pursuant to an order
reasonably acceptable to the Commitment Parties or (y) in a redacted form acceptable to the Commitment
Parties), (c) between you and your officers, directors, employees, affiliates, members, partners, attorneys,
accountants, agents and advisors, in each case on a confidential basis and (d) in any legal, judicial or
administrative proceeding or other compulsory process or as otherwise required by applicable law or
regulations (in which case you agree to use commercially reasonable efforts to promptly notify us to the
extent not prohibited by law); provided, however, it is understood and agreed that (i) you may disclose this
Commitment Letter (including the Summary of Terms) but not the Fee Letters nor the contents thereof after
your acceptance of this Commitment Letter and the Fee Letters, in filings with applicable regulatory
authorities; (ii) after your acceptance of this Commitment Letter and the Fee Letters, you may disclose the
aggregate fees payable under the Fee Letters (but not the Fee Letters or the contents thereof) in generic
disclosure of aggregate sources and uses contained in any marketing materials relating to the ABL Facility;
(iii) the aggregate fees and other amounts herein and in the Fee Letters (but not the Fee Letters or the


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contents thereof) may be reflected in your financial statements as part of the aggregate expenses in
connection with the transactions contemplated hereby and may otherwise be disclosed as part of projections,
pro forma information and a generic disclosure of aggregate sources and uses and (iv) you may disclose the
Commitment Letter and the Fee Letters in connection with the exercise of remedies hereunder or any suit,
action or proceeding relating to this Commitment Letter, the Fee Letters, or the transactions contemplated
hereby or thereby or enforcement hereof and thereof. This paragraph shall terminate (as it relates to the
Commitment Letter but not as it relates to the Fee Letters) on the two-year anniversary of the date hereof.

          The Commitment Parties shall use all nonpublic and other confidential information received by
them in connection with the ABL Facility and the transactions contemplated hereby (“Confidential
Information”) solely for the purposes of providing the services that are the subject of this Commitment
Letter and otherwise in connection with the transactions and shall treat confidentially all such information;
provided, however, that nothing herein shall prevent any Commitment Party from disclosing any
Confidential Information (a) to any banks, financial institutions, investors and other lenders that may come
into the ABL Facility as a lender thereunder (the “Lenders”) or participants or prospective Lenders, subject
to the proviso below, (b) in any legal, judicial or administrative proceeding or other compulsory process or
as required by applicable law or regulations or as requested by a governmental authority (in which case
such Commitment Party shall use commercially reasonable efforts to promptly notify you, in advance, to
the extent not prohibited by law), (c) upon the request or demand of any regulatory authority or self-
regulatory organization having jurisdiction or oversight over such Commitment Party or its affiliates (in
which case such Commitment Party shall use commercially reasonable efforts to promptly notify you, in
advance, to the extent permitted by law, except in connection with any request as part of a regulatory or
bank examination or an inquiry by a self-regulatory body in the ordinary course), (d) to the employees,
legal counsel, independent auditors, professionals and other experts or agents of such Commitment Party
(collectively, “Representatives”) who need to know such information and who are informed of the
confidential nature of such information and are or have been advised of their obligation to keep information
of this type confidential (provided that the Commitment Parties shall be responsible for its Representative’s
compliance with this paragraph), (e) to any of its respective affiliates (provided that any such affiliate is
advised of its obligation to retain such information as confidential, and such Commitment Party shall be
responsible for its affiliates’ compliance with this paragraph) solely in connection with the ABL Facility
and any related transactions, (f) to the extent any such information becomes publicly available other than
by reason of disclosure by such Commitment Party, its affiliates or Representatives in violation of this
Commitment Letter and (g) for purposes of establishing a “due diligence” defense in any suit, action or
proceeding relating to this Commitment Letter, the Fee Letters, the ABL Facility or the enforcement of
rights thereunder; provided that the disclosure of any such information to any Lenders or prospective
Lenders or participants or prospective participants (or its advisors) referred to above shall be made subject
to the acknowledgment and acceptance by such Lender or prospective Lender or participant or prospective
participant (or its advisors) that such information is being disseminated on a confidential basis in accordance
with the standard syndication processes of such Commitment Party or customary market standards for
dissemination of such type of information, which shall in any event require “click through” or other
affirmative actions on the part of the recipient to access such information on terms that have been approved
by and are reasonably acceptable to you. The Commitment Parties’ obligations under this paragraph will
automatically terminate and be superseded by the confidentiality provisions in the ABL Facility
Documentation upon the execution and delivery thereof and in any event will automatically terminate two
years following the date of this Commitment Letter.

    9. Miscellaneous

         This Commitment Letter shall not be assignable by you without the prior written consent of each
Commitment Party (and any purported assignment without such consent shall be null and void), is intended
to be solely for the benefit of the parties hereto and the indemnified persons and is not intended to and does


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not confer any benefits upon, or create any rights in favor of, any person other than the parties hereto and
the indemnified persons to the extent expressly set forth herein. This Commitment Letter may not be
assignable by the Commitment Parties without your prior written consent (and any purported assignment
without such consent shall be null and void), provided that the Commitment Parties reserve the right to
employ the services of their affiliates in providing services contemplated hereby and to allocate, in whole
or in part, to their affiliates certain fees payable to the Commitment Parties in such manner as the
Commitment Parties and their affiliates may agree in their sole discretion. This Commitment Letter may
not be amended or waived except by an instrument in writing signed by you and each Commitment Party.
This Commitment Letter may be executed in any number of counterparts, each of which shall be an original,
and all of which, when taken together, shall constitute one agreement. The words “execution,” “signed,”
“signature,” “delivery,” and words of like import in or relating to this Commitment Letter, the Fee Letters
and/or any document to be signed in connection with this Commitment Letter and the transactions
contemplated hereby shall be deemed to include Electronic Signatures (as defined below), deliveries or the
keeping of records in electronic form, each of which shall be of the same legal effect, validity or
enforceability as a manually executed signature, physical delivery thereof or the use of a paper-based
recordkeeping system, as the case may be. “Electronic Signatures” means any electronic symbol or process
attached to, or associated with, any contract or other record and adopted by a person with the intent to sign,
authenticate or accept such contract or record. This Commitment Letter and the Fee Letters are the only
agreements that have been entered into among us and you with respect to the ABL Facility and set forth the
entire understanding of the parties with respect thereto. This Commitment Letter and any claim or
controversy arising hereunder or related hereto shall be governed by, and construed and interpreted in
accordance with, the laws of the State of New York.

         You and we hereby irrevocably and unconditionally submit to the exclusive jurisdiction of the
United States District Court for the Southern District of New York sitting in the Borough of Manhattan (or if
such court lacks subject matter jurisdiction, the Supreme Court of the State of New York sitting in the Borough
of Manhattan) or, so long as the Cases are pending, by the Bankruptcy Court, over any suit, action or
proceeding arising out of or relating to the transactions contemplated hereby, this Commitment Letter or
the Fee Letters or the performance of services hereunder or thereunder. You and we agree that service of
any process, summons, notice or document by registered mail addressed to you or us shall be effective
service of process for any suit, action or proceeding brought in any such court. You and we hereby
irrevocably and unconditionally waive any objection to the laying of venue of any such suit, action or
proceeding brought in any such court and any claim that any such suit, action or proceeding has been
brought in any inconvenient forum. You and we hereby irrevocably agree to waive trial by jury in any suit,
action, proceeding, claim or counterclaim brought by or on behalf of any party related to or arising out of
the transactions contemplated hereby, this Commitment Letter or the Fee Letters or the performance of
services hereunder or thereunder.

         Each of the Commitment Parties hereby notifies you that, pursuant to the requirements of the USA
PATRIOT Act, Title III of Pub. L. 107-56 (signed into law on October 26, 2001) (the “PATRIOT Act”)
and the requirements of 31 C.F.R. § 1010.230 (the “Beneficial Ownership Regulation”), it (i) is required to
obtain, verify and record information that identifies the Borrower and each guarantor under the ABL
Facility, which information includes names, addresses, tax identification numbers and other information
that will allow such Lender to identify the Borrower and each guarantor under the ABL Facility in
accordance with the PATRIOT Act and (ii) may be required to obtain a certification regarding beneficial
ownership (a “Beneficial Ownership Certification”) from the Borrower, which certification shall be
substantially similar in form and substance to the form of Certification Regarding Beneficial Owners of
Legal Entity Customers published jointly, in May 2018, by the Loan Syndications and Trading Association
and Securities Industry and Financial Markets Association. This notice is given in accordance with the
requirements of the PATRIOT Act and the Beneficial Ownership Regulation and is effective for the



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Commitment Parties and each Lender. You hereby acknowledge that the Commitment Parties shall be
permitted to share any or all such information with the Lenders.

         The indemnification, fee, expense, jurisdiction and confidentiality provisions contained herein and
in the Fee Letters, in each case, shall remain in full force and effect regardless of whether definitive
financing documentation shall be executed and delivered and notwithstanding the termination of this
Commitment Letter; provided that your obligations under this Commitment Letter (other than your
obligations with respect to confidentiality) shall automatically terminate and be superseded, to the extent
comparable, by the provisions of the ABL Facility Documentation upon the funding thereunder, and you
shall automatically be released from all liability in connection therewith at such time.

         If the foregoing correctly sets forth our agreement, please indicate your acceptance of the terms of
this Commitment Letter and the Fee Letters by returning to the Commitment Parties executed counterparts
of this Commitment Letter and the Fee Letters not later than 11:59 p.m., New York City time, on August
21, 2022. This offer will automatically expire at such time if we have not received such executed
counterparts in accordance with the preceding sentence. Thereafter, all commitments and undertakings of
the Commitment Parties hereunder will expire on the earliest of (a) the date that is sixty (60) days following
the Petition Date, in the event the Closing Date has not occurred on or prior to such date unless we shall, in
our sole discretion, agree to an extension, (b) the execution of the ABL Facility Documentation, (c) the
termination of the Restructuring Support Agreement (as defined in the Plan) or the Rights Offering (as
defined in the Plan) or (d) receipt by the Commitment Parties of written notice from the Borrower of its
election to terminate all commitments under the ABL Facility in full.




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                       EXHIBIT A

                      TERM SHEET
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                                   CARESTREAM HEALTH, INC.
                                           $85 million
                                    New First Lien ABL Facility
                                  Summary of Terms and Conditions

        Set forth below is a summary of the principal terms and conditions (the “ABL Term Sheet”) for
the ABL Facility (as defined below). This summary is for indicative purposes only and does not purport
to summarize all of the terms of the definitive documentation with respect to the ABL Facility, and
reference should be made to the definitive documentation for the final terms of the ABL Facility.

1.       PARTIES

Borrower:                              Carestream Health,      Inc.,   a   Delaware    corporation   (the
                                       “Borrower”).

Holdings:                              A direct parent entity of the Borrower, as reorganized pursuant
                                       to the Plan (as defined in the Commitment Letter) (“New
                                       Carestream” or “Holdings”).

Guarantors:                            Holdings and each existing and subsequently acquired or
                                       organized domestic and Canadian and, to the extent no adverse
                                       tax consequences or repatriation of earnings to the Borrower, (i)
                                       would, in the good faith judgment of the Borrower at the time
                                       provided or (ii) thereafter, could reasonably be expected to result
                                       therefrom, foreign subsidiary of the Borrower (the “Subsidiary
                                       Guarantors”; Holdings and the Subsidiary Guarantors, the
                                       “Guarantors”; and the Borrower and the Guarantors, the “Loan
                                       Parties”), it being agreed that the Subsidiary Guarantors shall be
                                       subject to exclusions consistent with and no less favorable to the
                                       Borrower than the exclusions set forth in the Referenced First
                                       Lien Credit Agreement (as defined below) and other exclusions
                                       to be agreed consistent with the ABL Documentation Principles
                                       (as defined below). The ABL Credit Documentation will include
                                       “Chewy” protections to be agreed.

Transactions:                          On the Plan Effective Date, in accordance with the Plan, the
                                       Borrower shall refinance a portion of the debt outstanding under
                                       that certain Amended and Restated Credit Agreement (First
                                       Lien), dated as of June 7, 2013, among Carestream Health
                                       Holdings, Inc. (prior to its reorganization pursuant to the Plan,
                                       “Existing Holdings”), the Borrower, the subsidiary guarantors
                                       party thereto, the lenders and other parties from time to time
                                       parties thereto and Credit Suisse AG, Cayman Islands Branch, as
                                       administrative agent (the “Existing Administrative Agent”), as
                                       amended on June 9, 2017, June 22, 2017, December 27, 2018,
                                       April 11, 2019, January 29, 2020 and May 8, 2020 (the
                                       “Prepetition First Lien Credit Agreement”) with the ABL
                                       Facility and a new term loan facility in an aggregate principal
                                       amount equal to the allowed amount of the First Lien Claims less
                                       the amount of First Lien Claims that are satisfied pursuant to the
                                       terms of the Plan (the “Term Loan Facility”, the loans
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                                   thereunder, the “Term Loans”; and the Term Loan Facility
                                   together with the ABL Facilities, the “Facilities”).

Lead Arrangers and
Bookrunners:                       JPMorgan Chase Bank, N.A. (“JPMorgan Chase Bank”) and
                                   Barclays Bank PLC (“Barclays”).

Commitment Parties                 JPMorgan Chase Bank, Credit Suisse AG (acting through such
                                   of its affiliates or branches as it deems appropriate, “CS”),
                                   Barclays and Apollo Credit Master Fund Ltd. (“Apollo”, and
                                   with JPMorgan Chase Bank, CS and Barclays, in such capacity,
                                   the “ABL Commitment Parties”).

Administrative Agent:              JPMorgan Chase Bank           (in   such   capacity,   the   “ABL
                                   Administrative Agent”).

Lenders:                           Lenders of the ABL Facility shall consist of the ABL
                                   Commitment Parties and certain other Prepetition Revolving
                                   Lenders (collectively, the “Lenders”).

Commitment Reduction:              The commitments in respect of the ABL Facility of the ABL
                                   Commitment Parties under the Commitment Letter shall be
                                   reduced dollar-for-dollar by the ABL Commitments (as defined
                                   below) of the Prepetition Revolving Lenders (other than the
                                   ABL Commitment Parties) that such Prepetition Revolving
                                   Lenders elect to provide in accordance with the Plan, with any
                                   such reduction to be ratable among the ABL Commitment
                                   Parties

Closing Date                       The date each of the conditions set forth in Exhibit B are
                                   satisfied or otherwise waived in accordance with the
                                   Commitment Letter.

2.         ABL FACILITY

A. ABL Facility

Type and Amount:                   A four and a half-year asset-based revolving facility (the “ABL
                                   Facility”, the date of effectiveness thereof, the “Closing Date”,
                                   and the commitments thereunder, the “ABL Commitments”) in
                                   the amount of $85 million (the loans thereunder, the “ABL
                                   Loans”).

Availability and
Maturity:                          The ABL Commitments will expire, and the ABL Loans will
                                   mature, on the date that is four and a half years after the Closing
                                   Date (the “ABL Termination Date”); provided that the ABL
                                   Credit Documentation shall include (x) “amend and extend”
                                   provisions and (y) commitment reduction and termination
                                   provisions, in each case, usual and customary for facilities of this
                                   type. The ABL Facility shall be available on a revolving basis



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                                  during the period commencing on the Closing Date and ending
                                  on the ABL Termination Date; provided that no more than
                                  $47,424,495.19 of ABL Loans may be drawn on the Closing
                                  Date and no Letters of Credit (as defined below) shall be issued
                                  (or deemed issued) under the ABL Facility on the Closing Date.
                                  Funding will be ratable among the ABL Lenders according to
                                  ABL Commitments on the Closing Date and in a manner that is
                                  satisfactory to the ABL Commitment Parties and ABL
                                  Administrative Agent.

                                  Excess Availability (as defined below) under the ABL Facility
                                  will be subject to the Borrowing Base referred to below.

                                  “Excess Availability” means, at any time, an amount equal to (i)
                                  the Line Cap (as defined below) minus (ii) the sum of (a) the
                                  aggregate outstanding amount of ABL Loans plus (b) the
                                  aggregate undrawn amount of outstanding Letters of Credit and
                                  (c) unreimbursed drawings in respect of Letters of Credit (unless
                                  otherwise converted into ABL Loans).

                                  “Line Cap” means, at any time, the lesser of the aggregate ABL
                                  Commitments at such time and the Borrowing Base at such time.

                                  “Specified Excess Availability” means the sum of (i) Excess
                                  Availability plus (ii) the amount (not to exceed 2.5% of the total
                                  ABL Commitments then in effect) by which the Borrowing Base
                                  then in effect exceeds the total ABL Commitments then in effect.

Letters of Credit:                All letters of credit outstanding under the revolving credit
                                  facility under the Prepetition First Lien Credit Agreement
                                  immediately prior to the Plan Effective Date shall, on the Plan
                                  Effective Date, continue to be cash collateralized in a manner
                                  satisfactory to CS until replacement Letters of Credit can be
                                  issued under the ABL Facility and such letters of credit are
                                  returned to CS undrawn and the applicable beneficiaries have
                                  accepted the applicable replacement Letters of Credit. A portion
                                  of the ABL Facility in an amount equal to $15 million shall be
                                  available, subject to Excess Availability, for the issuance of
                                  letters of credit (the “Letters of Credit”) by JPMorgan Chase
                                  Bank, CS and other Lenders reasonably satisfactory to the
                                  Borrower (in such capacity, each an “Issuing Lender”); provided
                                  that (x) no Issuing Lender shall be required to issue Letters of
                                  Credit in an aggregate face amount in excess of $5.0 million (or
                                  such greater amount as agreed to by the applicable Issuing
                                  Lender (as defined below)) and (y) with respect to any Letter of
                                  Credit issued, the Borrower shall provide cash collateral to the
                                  applicable Issuing Lender in an amount equal to 103% of the pro
                                  rata portion of such Letter of Credit attributable to any Lender
                                  that is not a Regulated Bank. No Letter of Credit shall have an
                                  expiration date after the earlier of (a) one year after the date of
                                  issuance unless consented to by the Issuing Lender and (b) five


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                                (5) business days prior to the ABL Termination Date, provided
                                that any Letter of Credit with a one-year tenor may provide for
                                the renewal thereof for additional one-year periods (which shall
                                in no event extend beyond the date referred to in clause (b)
                                above).

                                Drawings under any Letter of Credit shall be reimbursed by the
                                Borrower (whether with its own funds or with the proceeds of
                                ABL Loans) within one business day. To the extent that the
                                Borrower does not so reimburse the Issuing Lender, the Lenders
                                under the ABL Facility shall be irrevocably and unconditionally
                                obligated to fund participations in the reimbursement obligations
                                on a pro rata basis.

Borrowing Base:                 The “Borrowing Base” will equal the sum of:

                                (a) 85% of the eligible accounts receivable of the Borrowing
                                Base Loan Parties (as defined below) plus

                                (b) the lesser of (i) 70% of the eligible inventory of the
                                Borrowing Base Loan Parties (valued at the lower of cost and
                                fair market value) and (ii) the product of 85% multiplied by the
                                net orderly liquidation value percentage identified in the most
                                recent inventory appraisal ordered by the ABL Administrative
                                Agent multiplied by the Borrowing Base Loan Parties’ eligible
                                inventory minus

                                (c) Eligible Reserves (as defined below).

                                The ABL Administrative Agent will have the right to establish
                                and modify Eligible Reserves, which the ABL Administrative
                                Agent determines from time to time in its Permitted Discretion
                                (as defined below) as being necessary, against the Borrowing
                                Base assets, upon at least three (3) business days’ prior written
                                notice to the Borrower (such three (3) business days (or longer)
                                period, the “Review Period”) (which notice shall include a
                                reasonably detailed description of such reserve being
                                established); provided that no reserves may be taken after the
                                Closing Date based on circumstances, conditions, events or
                                contingencies known to the ABL Administrative Agent as of the
                                Closing Date and for which no reserves were imposed on the
                                Closing Date, unless such circumstances, conditions, events or
                                contingencies shall have changed in any material adverse respect
                                since the Closing Date. During the Review Period, (i) the ABL
                                Administrative Agent shall, if requested, discuss any such
                                reserve or change with the Borrower, and the Borrower may take
                                such action as may be required so that the event, condition or
                                matter that is the basis for such reserve or change no longer
                                exists or exists in a manner that would result in the establishment
                                of a lower reserve or result in a lesser change, in each case, in a
                                manner and to the extent reasonably satisfactory to the ABL


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                                   Administrative Agent, (ii) if failure to implement any such
                                   reserve or change within a shorter time period would, in the good
                                   faith judgment of the ABL Administrative Agent, reasonably be
                                   expected to result in a Material Adverse Effect (to be defined in
                                   the ABL Credit Documentation) or materially and adversely
                                   affect the Collateral or the rights of the Lenders, such change
                                   may be implemented within a shorter time as determined by the
                                   ABL Administrative Agent in its Permitted Discretion and (iii)
                                   any borrowings or issuances of Letters of Credit made during the
                                   Review Period shall be made based on the Borrowing Base as
                                   modified by the proposed new or modified Eligible Reserves.
                                   Notwithstanding anything to the contrary herein, (a) the amount
                                   of any such reserve or change shall have a reasonable
                                   relationship to the event, condition or other matter that is the
                                   basis for such reserve or such change, (b) no reserves or changes
                                   shall be duplicative of reserves or changes already accounted for
                                   through eligibility criteria and (c) no reserves shall be imposed
                                   on the first 5% of dilution of accounts receivable and thereafter
                                   no dilution reserve shall exceed 1% for each incremental whole
                                   percentage in dilution over 5%.

                                   As used herein:

                                   “Borrowing Base Loan Parties” means domestic and Canadian
                                   Loan Parties.

                                   “Eligible Reserves” means such amounts as the ABL
                                   Administrative Agent, in its Permitted Discretion, may from time
                                   to time establish in accordance with the ABL Credit
                                   Documentation.

                                   “Permitted Discretion” means a determination made in good
                                   faith and in the exercise of reasonable (from the perspective of a
                                   secured asset-based lender) business judgment.

                                   A certificate presenting the Borrower’s computation of the
                                   Borrowing Base (a “Borrowing Base Certificate”) will be
                                   delivered to the ABL Administrative Agent on or prior to the
                                   20th calendar day following the end of each calendar month, (or,
                                   if such day is not a business day, on the immediately following
                                   Business Day); provided, however, that during a Cash Dominion
                                   Period (as defined below), the Borrower will be required to
                                   compute the Borrowing Base and deliver a Borrowing Base
                                   Certificate on a weekly basis (on or prior to the date that is the
                                   third business day following the end of each such week) (each
                                   delivery of a Borrowing Base certificate pursuant to this
                                   paragraph, a “Scheduled Borrowing Base Delivery”).

Eligibility:                       The definitions of eligible accounts and eligible inventory will
                                   be mutually agreed by the ABL Commitment Parties and the
                                   Borrower in accordance with the ABL Documentation Principles


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                                    and contained in the ABL Credit Documentation; provided that
                                    eligible accounts and eligible inventory shall only include
                                    accounts and inventory owned by a Borrowing Base Loan Party
                                    and located in the United States or Canada. In addition, the ABL
                                    Administrative Agent will retain the right, from time to time, in
                                    its Permitted Discretion, to establish additional standards of
                                    eligibility against eligibility and to adjust reserves.

Use of Proceeds:                    The Proceeds of the ABL Loans on the Closing Date shall be
                                    used as set forth on Exhibit B. The proceeds of the ABL Loans
                                    after the Closing Date shall be used to finance the working
                                    capital needs and general corporate purposes of the Borrower
                                    and its subsidiaries, including on the Closing Date to refinance
                                    the indebtedness outstanding under the Prepetition First Lien
                                    Credit Agreement (the “Refinancing”) and to pay fees and
                                    expenses in connection therewith and in connection with the
                                    ABL Credit Documentation.

B. Increase in ABL Commitments:     The ABL Credit Documentation (as defined below) will permit
                                    the Borrower to request an increase in commitments under the
                                    ABL Facility (any such increase, an “Incremental ABL
                                    Facility”) in an aggregate principal amount that shall not exceed
                                    the greater of (a) the sum of (i) $25 million plus (ii) any
                                    voluntary prepayments that are accompanied by permanent
                                    commitment reductions under the ABL Facility (including the
                                    termination of commitments in connection with any “yank-a-
                                    bank” provisions) and (b) the excess of the Borrowing Base then
                                    in effect over the aggregate amount of ABL Commitments then
                                    in effect, by requesting additional commitments from one or
                                    more Lenders or, with the consent of the ABL Administrative
                                    Agent to the extent such consent would be required under the
                                    heading “Assignment and Participations” below, but without the
                                    consent of any other Lenders, from other entities; provided that,
                                    in connection with any Incremental ABL Facility, each ABL
                                    Lender shall be permitted to elect to have its ABL Commitment
                                    reduced by an amount equal to 40% of such Incremental ABL
                                    Facility and the Borrower shall prepay the outstanding ABL
                                    Loans held by such Lender in an amount proportionate to the
                                    ABL Commitment so reduced as compared to the aggregate
                                    ABL Commitment of such Lender outstanding immediately prior
                                    to such reduction; provided, further, that if more than one ABL
                                    Lender elects to have their ABL Commitments reduced, such
                                    reduction shall be applied on a pro rata basis as between such
                                    electing ABL Lenders. For the avoidance of doubt the terms of
                                    and conditions of any Incremental ABL Facility shall be
                                    substantially identical to the ABL Facility.

Limited Conditionality Provision:   For purposes of determining pro forma compliance with any
                                    basket (but not, for the avoidance of doubt, the satisfaction of
                                    conditions to the making of a credit extension) based on (a) a
                                    financial ratio (other than Excess Availability or Specified


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                    Excess Availability), (b) Consolidated EBITDA (to be defined in
                    a manner no less favorable, taken as a whole, to the Borrower
                    than in the Referenced First Lien Credit Agreement and
                    otherwise as agreed by the ABL Administrative Agent and the
                    Borrower subject to the ABL Documentation Principles
                    (provided that (i) pro forma cost savings and synergy addbacks
                    shall be permitted in the calculation of Consolidated EBITDA
                    and capped at 15% of Consolidated EBITDA with an 12 month
                    look-forward period) and (ii) management incentive plan cash
                    and equity-based compensation addbacks shall be permitted in
                    the calculation of Consolidated EBITDA), (c) whether a default
                    or event of default has occurred and is continuing, or (d) the
                    accuracy of any representation or warranty contained in the ABL
                    Credit Documentation, in each case, in connection with the
                    consummation of an acquisition or similar investment that the
                    Borrower or one or more of its subsidiaries is contractually
                    committed to consummate (it being understood that such
                    commitment may be subject to conditions precedent, which
                    conditions precedent may be amended, satisfied or waived in
                    accordance with the terms of the applicable agreement) and
                    whose consummation is not conditioned on the availability of, or
                    on obtaining, third party financing (any such acquisition or
                    investment, a “Limited Conditionality Transaction”), the date of
                    determination shall, at the option of the Borrower (the exercise
                    of such option, an “LC Election”), be the time the definitive
                    agreements for such acquisition or investment are entered into or
                    (the “LC Test Date”) after giving pro forma effect to such
                    acquisition or investment and the other transactions to be entered
                    into in connection therewith (including any incurrence of
                    indebtedness and the use of proceeds thereof) as if they had
                    occurred at the beginning of the applicable test period, rather
                    than the date that such Limited Conditionality Transaction is
                    consummated and, for the avoidance of doubt, if any of such
                    ratios or amounts are exceeded on any date other than the LC
                    Test Date as a result of fluctuations in such ratio or amount
                    including due to fluctuations in Consolidated EBITDA of the
                    Borrower or, if applicable, the person subject to such acquisition
                    or investment, at or prior to the consummation of the relevant
                    transaction or action, such ratios will not be deemed to have
                    been exceeded as a result of such fluctuations solely for purposes
                    of determining whether the relevant transaction or action is
                    permitted to be consummated or taken under any basket.

                    If the Borrower has made an LC Election for any Limited
                    Conditionality Transaction, then in connection with any
                    calculation of any basket availability in connection with the
                    consummation of any subsequent acquisition or similar
                    investment that the Borrower or one or more of its subsidiaries is
                    contractually committed to consummate (each, a “Subsequent
                    Transaction”) following the relevant LC Test Date and prior to
                    the earlier of the date on which such Limited Condition


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                                  Transaction is consummated or the date that the definitive
                                  agreement for such Limited Condition Transaction is terminated
                                  or expires without consummation of such Limited Condition
                                  Transaction, for purposes of determining whether such
                                  Subsequent Transaction is permitted under the ABL Credit
                                  Documentation, any such basket shall be required to be satisfied
                                  on a pro forma basis (a) assuming such Limited Condition
                                  Transaction and other transactions in connection therewith
                                  (including any incurrence of Indebtedness and the use of
                                  proceeds thereof) have been consummated, and (b) assuming
                                  such Limited Condition Transaction and other transactions in
                                  connection therewith (including any incurrence of indebtedness
                                  and the use of proceeds thereof) have not been consummated.

3.       CERTAIN PAYMENT PROVISIONS

Fees and Interest Rates:          As set forth on Annex I.

Optional Prepayments and
Commitment Reductions:            ABL Loans may be prepaid and ABL Commitments may be
                                  reduced, in whole or in part without premium or penalty, in
                                  minimum amounts of $1 million or a whole multiple of $100,000
                                  in excess thereof, at the option of the Borrower at any time upon
                                  one day’s (or, in the case of a prepayment of Term Benchmark
                                  Loans (as defined in Annex I hereto), three (3) days’) prior
                                  notice, subject to customary reimbursement of the Lenders’
                                  redeployment costs in the case of a prepayment of Term
                                  Benchmark Loans prior to the last day of the relevant interest
                                  period).

Mandatory Prepayments:            If at any time the aggregate amount of outstanding ABL Loans,
                                  unreimbursed Letter of Credit drawings and undrawn Letters of
                                  Credit exceeds the lesser of the aggregate ABL Commitments
                                  and the Borrowing Base, the ABL Credit Documentation will
                                  require a prepayment to the extent of such excess be applied
                                  first, to the outstanding ABL Loans (without a concurrent
                                  reduction of the ABL Commitments) and second, to the cash
                                  collateralization of outstanding Letters of Credit.

4.       COLLATERAL

Collateral:                       The ABL Facility will be secured by the collateral which secures
                                  the Term Loan Facility (the “Collateral”). The liens securing the
                                  ABL Facility will be first priority in the case of the ABL Priority
                                  Collateral (as defined below) and, with respect to Term Priority
                                  Collateral, junior only to the liens securing the Term Loans.

                                  “Term Priority Collateral” shall mean all Collateral securing the
                                  Term Loans other than ABL Priority Collateral.




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                                  “ABL Priority Collateral” shall mean all of the present and after
                                  acquired (a) cash, deposit accounts, securities accounts, accounts
                                  receivable and inventory of the Loan Parties; (b) general
                                  intangibles, instruments, documents and chattel paper relating to
                                  the property identified in clause (a); (c) commercial tort claims,
                                  security and guarantees and supporting obligations in respect of
                                  the collateral identified in clauses (a) and (b); and (d) proceeds
                                  (including insurance proceeds) of the foregoing (other than any
                                  such items constituting proceeds arising from the sale or
                                  disposition of Term Priority Collateral and cash on deposit in
                                  trust accounts, payroll or tax accounts and escrow accounts).

                                  The ABL Priority Collateral will also secure obligations in
                                  respect of interest rate protection or other hedging arrangements
                                  entered into for non-speculative purposes in the ordinary course
                                  of business (including, for the avoidance of doubt, any interest
                                  rate protection or other hedging arrangements entered into
                                  prepetition) and cash management obligations (collectively, the
                                  “Swap and Cash Management Obligations”), in each case, owing
                                  to any person that is (or was on the date such obligation was
                                  entered into) the ABL Administrative Agent, any ABL
                                  Commitment Party, any Lender or any affiliate of the foregoing;
                                  provided that Swap and Cash Management Obligations shall
                                  only be pari with principal in the payment waterfall to the extent
                                  that (x) Borrowing Base reserves are in place in respect of such
                                  obligations and (y) such Swap and Cash Management
                                  Obligations are owing to the ABL Administrative Agent, any
                                  ABL Commitment Party, any Lender or any affiliate of the
                                  foregoing. For the avoidance of doubt, no Borrowing Base
                                  reserves shall be in place in respect of Swap and Cash
                                  Management Obligations owing to a person that is not the ABL
                                  Administrative Agent, an ABL Commitment Party, a Lender or
                                  an affiliate of the foregoing.

                                  The lien priority, relative rights and other creditors’ rights issues
                                  in respect of the ABL Facility and the Term Loan Facility shall
                                  be subject to an intercreditor agreement reasonably satisfactory
                                  to the ABL Commitment Parties and the Borrower (the
                                  “Intercreditor Agreement”).

5.       CERTAIN CONDITIONS

Initial Conditions:               The availability of the ABL Facility on the Closing Date will be
                                  subject to the conditions set forth in Exhibit B.

On-Going Conditions:              The making of each ABL Loan and the issuance of each Letter
                                  of Credit shall be conditioned upon (a) the accuracy in all
                                  material respects (or in all respects if qualified by materiality) of
                                  all representations and warranties in the ABL Credit
                                  Documentation and (b) there being no default or event of default



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                                in existence at the time of, or immediately after giving effect to,
                                such extension of credit.

6.      DOCUMENTATION

ABL Credit
Documentation:                  The definitive documentation for the ABL Facility (the “ABL
                                Credit Documentation”; and together with the definitive
                                documentation for the Term Loan Facility, the “Credit
                                Documentation”) shall be based on and consistent with the
                                Prepetition First Lien Credit Agreement in the form that was in
                                effect after giving effect to that certain Second Amendment to
                                Amended and Restated Credit Agreement (First Lien), dated as
                                of June 22, 2017, among inter alia, the Borrower, the guarantors
                                and lenders party thereto and the Existing Administrative Agent
                                (such version of the Prepetition First Lien Credit Agreement, the
                                “Referenced First Lien Credit Agreement”) with certain
                                modifications, including those modifications as are necessary to
                                reflect (i) the ABL structure (including that the baskets in respect
                                of the dividend, investment and prepayment of debt covenants
                                shall be customary for an ABL structure), (ii) the terms and
                                conditions set forth in this ABL Term Sheet, (iii) the operational
                                and strategic requirements of the Borrower and its subsidiaries in
                                light of their size, industries and practices, (iv) basket capacity
                                and sizes to be agreed between the ABL Commitment Parties
                                and the Borrower based on negotiations and as set forth in the
                                ABL Credit Documentation and (v) the customary agency and
                                operational requirements of the ABL Administrative Agent (the
                                “ABL Documentation Principles”). Capitalized terms not
                                defined in this ABL Term Sheet shall be given substantially the
                                same meaning assigned to such terms as defined in the
                                Referenced First Lien Credit Agreement, with changes as
                                mutually agreed, subject to the ABL Documentation Principle.

Financial Covenant:             Limited to a minimum Fixed Charge Coverage Ratio (as defined
                                below) of not less than 1.00:1.00 (the “ABL Financial
                                Covenant”), to be tested at the end of the most recently ended
                                four fiscal quarters for which financial statements have been or
                                are required to be delivered (each such period, a “Testing
                                Period”) but only during the continuance of a Financial
                                Covenant Compliance Period (as defined below).

                                As used herein:

                                “Financial Covenant Compliance Period” means any period
                                beginning on any date on which Specified Excess Availability is
                                less than the greater of (x) 15% of the Line Cap and (y) $10.5
                                million and ending on the subsequent date on which Specified
                                Excess Availability is equal to or greater than the greater of (x)
                                15% of the Line Cap and (y) $10.5 million for at least thirty (30)
                                consecutive calendar days.


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                    “Fixed Charge Coverage Ratio” means during any period, with
                    respect to the Borrower and its restricted subsidiaries on a
                    consolidated basis, the ratio of (a)(i) Consolidated EBITDA,
                    minus, (ii) in each case to the extent paid in cash, the aggregate
                    amount of all capital expenditures made by the Borrower and its
                    restricted subsidiaries during such period (other than capital
                    expenditures to the extent financed with the proceeds of any
                    incurrence of indebtedness (other than the incurrence of any
                    ABL Loans), proceeds from asset sales or proceeds from equity
                    issuances), minus, (iii) the aggregate amount of all cash
                    payments made by the Borrower and its restricted subsidiaries in
                    respect of income taxes or income tax liabilities (net of cash
                    income tax refunds) during such period (excluding, solely for
                    purposes of testing the Financial Covenant, the lesser of (x)
                    $5,000,000 and (y) 50% of the tax or tax liabilities paid in cash
                    by the Borrower related to the taxable years ending on or before
                    December 31, 2022 related to any gain as a result of the
                    recapitalization effected on the Closing Date), to (b) Fixed
                    Charges of the Borrower and its restricted subsidiaries for such
                    period.

                    “Fixed Charges” means during any period, with respect to the
                    Borrower and its restricted subsidiaries on a consolidated basis,
                    the sum of (i) consolidated interest expense paid in cash, plus (ii)
                    scheduled payments in cash of principal on indebtedness (other
                    than ABL Loans) included in the definition of Consolidated
                    Total Debt (to be defined in a manner substantially similar to the
                    definition contained in the Referenced First Lien Credit
                    Agreement, subject to the ABL Documentation Principles) (other
                    than mandatory prepayments of Term Loans based on (x)
                    “Excess Cash Flow” of the Borrower pursuant to the Term Loan
                    Facility or (y) asset sales) plus (iii) Restricted Payments paid in
                    cash.

                    The foregoing Financial Covenant shall be tested quarterly with
                    respect to the Borrower and its restricted subsidiaries on a
                    consolidated basis, (i) immediately upon trigger of a Financial
                    Covenant Compliance Period based on the most recently
                    completed four-fiscal quarter period for which financial
                    statements have been delivered under the ABL Credit
                    Documentation and (ii) on the last day of each subsequently
                    completed fiscal quarter of the Borrower ending during a
                    Financial Covenant Compliance Period for which financial
                    statements are required to have been delivered hereunder.

                    For purposes of determining compliance with the Financial
                    Covenant, any cash equity contribution made to Holdings, and
                    contributed by Holdings to the Borrower as common equity,
                    after the beginning of the relevant fiscal quarter and prior to the
                    day that is ten (10) business days after the day on which financial
                    statements are required to be delivered for such fiscal quarter


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                                  will, at the request of the Borrower, be included in the
                                  calculation of Consolidated EBITDA of the Borrower and its
                                  restricted subsidiaries solely for the purposes of determining
                                  compliance with the Financial Covenant at the end of such fiscal
                                  quarter and applicable subsequent periods that include such
                                  fiscal quarter (any such equity contribution so included in the
                                  calculation of Consolidated EBITDA of the Borrower and its
                                  restricted subsidiaries, a “Specified Equity Contribution”);
                                  provided that (a) in each four consecutive fiscal quarter period,
                                  there shall be at least two (2) fiscal quarters in respect of which
                                  no Specified Equity Contribution is made, (b) during the life of
                                  the ABL Facility there shall be no more than five (5) Specified
                                  Equity Contributions in the aggregate, (c) the amount of any
                                  Specified Equity Contribution shall be no greater than the
                                  amount required to cause the Borrower to be in pro forma
                                  compliance with the Financial Covenant for the relevant fiscal
                                  quarter, (d) all Specified Equity Contributions shall be
                                  disregarded for purposes of calculating Consolidated EBITDA in
                                  determining any financial ratio-based conditions or baskets with
                                  respect to the covenants contained in the ABL Credit
                                  Documentation (other than, with respect to any future period,
                                  with respect to any portion of such Specified Equity
                                  Contribution that is actually applied to repay any indebtedness)
                                  and (e) there shall be no pro forma or other reduction of
                                  indebtedness with the proceeds of any Specified Equity
                                  Contribution for purposes of determining compliance with the
                                  Financial Covenant for the fiscal quarter in respect of which such
                                  Specified Equity Contribution was made.

                                  The ABL Credit Documentation will contain a standstill
                                  provision with regard to exercise of remedies (but no borrowings
                                  or issuances of Letters of Credit shall be permitted during the
                                  standstill period (without Required Lender (as defined below)
                                  consent)) during the period in which any Specified Equity
                                  Contribution will be made after the receipt of written notice by
                                  the ABL Administrative Agent of the Borrower’s intention to
                                  cure a Financial Covenant default with proceeds of a Specified
                                  Equity Contribution; provided, however, that such standstill shall
                                  be solely with respect to a breach of the Financial Covenant to
                                  which such Specified Equity Contribution applies.

Representations and Warranties:   Limited to the following (applicable to Holdings, the Borrower
                                  and its restricted subsidiaries), in each case, with customary
                                  materiality qualifiers, thresholds, exceptions, limitations and
                                  qualifications to be mutually agreed in accordance with the ABL
                                  Documentation Principles: financial condition, financial
                                  statements, no Material Adverse Effect (substantially as defined
                                  in the Referenced First Lien Credit Agreement, subject to the
                                  ABL Documentation Principles), corporate existence,
                                  compliance with laws, corporate power and authority, non-
                                  contravention, governmental authorization, enforceability of


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                                ABL Credit Documentation, no material litigation, no default,
                                ownership of property, liens, intellectual property, taxes, Federal
                                Reserve regulations, anti-corruption laws, bribery and sanctions,
                                ERISA, labor matters, Investment Company Act, subsidiaries,
                                use of proceeds, environmental matters, accuracy of disclosure,
                                creation and perfection of security interests, solvency,
                                Regulation H and Affected Financial Institutions and good faith
                                preparation of annual budget.

Affirmative Covenants:          Limited to the following (applicable to the Holdings, the
                                Borrower and their respective restricted subsidiaries), in each
                                case, with customary materiality qualifiers, thresholds,
                                exceptions, limitations and qualifications to be mutually agreed
                                in accordance with the ABL Documentation Principles: delivery
                                of annual and quarterly (other than the fourth quarter of any
                                year) financial statements, accountants’ letters, annual budgets,
                                compliance certificates (including calculations of the quarterly
                                fixed charge coverage ratio irrespective of whether a Financial
                                Covenant Compliance Period is then in effect), monthly
                                collateral reporting (including agings and inventory reports and
                                monthly borrowing base certificates) and other information
                                reasonably requested by the Lenders (provided that all collateral
                                reporting will be delivered on a monthly basis (provided that
                                such reporting shall be required to be delivered on a weekly
                                basis during a Cash Dominion Period)), payment of obligations,
                                maintenance of existence, compliance, maintenance of policies
                                and procedures reasonably designed to ensure compliance with
                                anti-corruption, bribery and sanctions laws, maintenance of
                                property (other than ordinary wear and tear, casualty or
                                condemnation), adequate insurance, maintenance of books and
                                records, right of Lenders to inspect property and books and
                                records, field examinations and inventory appraisals as described
                                under the headings Field Examinations and Inventory
                                Appraisals, notices of defaults, material litigation and other
                                material events, compliance with environmental laws, ERISA,
                                deposit accounts, further assurances (including without
                                limitation, with respect to security interests in after acquired
                                property), and performance of post-closing matters (including,
                                within sixty (60) days following the Closing Date (or such later
                                date as agreed to by the ABL Administrative Agent in its sole
                                discretion), entrance into control agreements, delivery of
                                insurance endorsements and delivery of audited consolidated
                                balance sheets and related statements of income and cash flows
                                of the Borrower and its subsidiaries, in each case for the fiscal
                                year ended December 31, 2021).

Negative Covenants:             Subject to certain exceptions and baskets to be mutually agreed
                                subject to the ABL Documentation Principles, limitations on (to
                                apply to Holdings, the Borrower and their respective restricted
                                subsidiaries):



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                    (a) indebtedness (including guarantee obligations of
                    indebtedness), which shall permit, among other things, the Term
                    Loan Facility, Incremental Term Facilities and Incremental
                    Equivalent Debt; provided that any Incremental Equivalent Debt
                    shall be junior in right of security to the ABL Priority Collateral;
                    provided further that the aggregate principal amount of the
                    Incremental Term Facilities and Incremental Equivalent Debt (as
                    each such term is defined in the Term Loan Facility and in a
                    manner satisfactory to the ABL Commitment Parties) shall not
                    exceed (a) the greater of (1) $100 million and (2) 50% of
                    Consolidated EBITDA plus (b) an amount equal to all voluntary
                    prepayments of initial term loans (other than any prepayment
                    using the proceeds of long-term indebtedness); plus (c) (i) in the
                    case of any Incremental Equivalent Debt that is secured on pari
                    passu basis, an additional amount if, after giving effect to the
                    incurrence of such additional amount (and after giving effect to
                    any permitted and concurrent use of proceeds thereof and all
                    other appropriate pro forma adjustment events), the Total Net
                    First Lien Leverage Ratio (as defined in the Term Loan Facility
                    and in a manner satisfactory to the ABL Commitment Parties) of
                    the Borrower being no greater than 2.50:1.00; (ii) in the case of
                    any Incremental Equivalent Debt that is secured on a junior lien
                    basis, the Total Net Secured Leverage Ratio (as defined in the
                    Term Loan Facility and in a manner satisfactory to the ABL
                    Commitment Parties) of the Borrower shall be no greater than
                    3.25:1.00 and (ii) in the case of Incremental Equivalent Debt that
                    is unsecured, the Total Net Leverage Ratio (as defined in the
                    Term Loan Facility and in a manner satisfactory to the ABL
                    Commitment Parties) of the Borrower shall be no greater than
                    3.75:1.00;


                    (b) liens;

                    (c) mergers, consolidations, liquidations and dissolutions;

                    (d) sales of assets, which shall permit, among other things, the
                    asset sales set forth under the heading “Permitted Asset Sales”
                    below;

                    (e) dividends and other payments in respect of capital stock;
                    provided that among other exceptions, such restricted payments
                    will be permitted without limitation upon satisfaction of the
                    Payment Conditions;

                    (f) acquisitions, investments, loans and advances; provided that
                    investments will be permitted without limitation upon
                    satisfaction of the Payment Conditions;

                    (g) voluntary prepayments, redemptions and repurchases
                    (“Specified  Prepayments”)  of   material contractually


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                    subordinated debt for borrowed money, unsecured debt for
                    borrowed money or junior lien debt for borrowed money
                    (collectively, “Covered Debt”) (it being understood that there
                    shall be no restriction on prepayments of Term Loans); provided
                    that Specified Prepayments of Covered Debt will be permitted
                    (x) so long as (i) such prepayments are not prohibited by the
                    documentation governing such debt (including any applicable
                    intercreditor or subordination agreement) and (ii) the Payment
                    Conditions are satisfied and (y) to the extent constituting a
                    permitted refinancing thereof permitted under the indebtedness
                    covenant;

                    (h) transactions with affiliates;

                    (i) sale-leasebacks;

                    (j) swap agreements;

                    (k) changes in fiscal periods;

                    (l) negative pledge clauses and clauses restricting subsidiary
                    distributions;

                    (m) changes in lines of business;

                    (n) material amendments to organizational documents;

                    (o) passive Holdings covenant; and

                    (p) use of proceeds in compliance with anti-corruption, bribery
                    and sanctions laws;

                    provided that neither Holdings, the Borrower or any Restricted
                    Subsidiary shall transfer or dispose of material intellectual
                    property to an Unrestricted Subsidiary.

                    “Payment Conditions” means (a) no Event of Default has
                    occurred and is continuing and (b) (i) after giving effect to the
                    proposed event as if it occurred on the first day of the Pro Forma
                    Period, daily average pro forma Specified Excess Availability is
                    greater than the greater of (x) 25.0% of the Line Cap and (y) $19
                    million at all times during the Pro Forma Period, or (ii) after
                    giving effect to the proposed event as if it occurred on the first
                    day of the Pro Forma Period or the most recently ended testing
                    period, as applicable, (A) daily average pro forma Specified
                    Excess Availability during the Pro Forma Period is greater than
                    the greater of (x) 20.0% of the Line Cap and (y) $15.0 million
                    and (B) the Fixed Charge Coverage Ratio as of the end of the
                    most recently ended Testing Period greater than 1.00:1.00.




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                                 “Pro Forma Period” means the period commencing ninety (90)
                                 days prior to the date an event is proposed by the Borrower to
                                 occur.

Permitted Asset Sale:            The Borrower or any of its restricted subsidiaries will be
                                 permitted to make non ordinary course of business asset sales or
                                 dispositions of property without limit so long as (a) such sales or
                                 dispositions are for fair market value, (b) at least seventy-five
                                 (75%) of the consideration for asset sales and dispositions shall
                                 consist of cash or cash equivalents (including a dollar basket for
                                 non-cash consideration that may be designated as cash
                                 consideration) and subject to additional exceptions consistent
                                 with the ABL Credit Documentation, (c) no default or event of
                                 default shall have occurred and be continuing or result therefrom
                                 and (d) to the extent such disposition is of assets in excess of an
                                 amount equal to the greater of (i) $4 million and (ii) 5.0% of the
                                 then-effective Borrowing Base that are included by the Borrower
                                 in the Borrowing Base, the Borrower delivers a pro forma
                                 Borrowing Base Certificate.

Cash Dominion:                   The Loan Parties will be subject to “springing” cash dominion
                                 during any Cash Dominion Period. During a Cash Dominion
                                 Period, funds deposited into any material, domestic depository
                                 account will be swept on a daily basis into a blocked account
                                 with the ABL Administrative Agent and shall be used to reduce
                                 amounts owing under the ABL Facility. The ABL
                                 Administrative Agent or another Lender or a bank acceptable to
                                 the ABL Administrative Agent shall be the Borrower’s principal
                                 depository and disbursement bank (it being agreed that the
                                 Borrower’s current depository and disbursement bank shall be
                                 deemed acceptable to the ABL Administrative Agent). The
                                 appropriate documentation, including blocked account and/or
                                 lockbox agreements acceptable to the ABL Administrative
                                 Agent, will be required for all such material depository accounts
                                 of the Borrower and its subsidiaries and will be implemented
                                 within ninety (90) days following the Closing Date (or such later
                                 date as agreed by the ABL Administrative Agent).

                                 “Cash Dominion Period” means any period commencing (a) on
                                 the fifth consecutive business day on which Excess Availability
                                 is less than the greater of (x) 15% of the Line Cap and $10.5
                                 million and ending on the date on which Excess Availability is
                                 equal to or greater than the greater of (y) 15% of the Line Cap
                                 and $10.5 million for thirty (30) consecutive calendar days or (b)
                                 upon the occurrence of a Specified Event of Default and ending
                                 when no such Specified Event of Default is continuing.

                                 “Specified Event of Default” means any event of default with
                                 respect to non-payment, bankruptcy, failure to deliver beyond
                                 the applicable grace period or material inaccuracy of a
                                 Borrowing Base Certificate, breach of the financial covenant or


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                                 failure to comply with cash management provisions relating to
                                 cash dominion.

Events of Default:               Nonpayment of principal when due, nonpayment of interest, fees
                                 and other amounts after five (5) day grace period, material
                                 inaccuracy of a representation or warranty when made, cross-
                                 default to material indebtedness (including the Term Loan
                                 Facility), violation of covenants (subject, in the case of certain
                                 affirmative covenants, to a grace period (it being understood that
                                 there shall only be a three (3) business day grace period for
                                 failure to deliver a required Borrowing Base certificate or failure
                                 to comply with controlled account requirements)), bankruptcy
                                 events, certain ERISA events that would result in a Material
                                 Adverse Effect, final and nonappealable material judgments,
                                 actual or asserted invalidity of guarantee or security document
                                 and change of control.

Voting:                          Amendments and waivers of the ABL Credit Documentation
                                 will require the approval of non-defaulting Lenders holding
                                 more than 50% of the aggregate amount of the loans and
                                 commitments under the ABL Facility held by non-defaulting
                                 Lenders (“Required Lenders”), except that (i) the consent of
                                 each Lender directly and adversely affected thereby shall also be
                                 required with respect to: (A) increases in the commitment of
                                 such Lender, (B) reductions of principal, interest or fees owing
                                 to such Lender, (C) extensions of the final maturity or the due
                                 date of any interest, amortization or fee payment, (D) changes
                                 to pro rata sharing and pro rata payment provisions, (E) changes
                                 to the payment waterfall and (F) actions taken to contractually
                                 subordinate (or have the effect of contractually subordinating)
                                 the payment obligations or all or substantially all of the liens in
                                 the Collateral under the ABL Credit Documentation to other
                                 indebtedness for borrowed money (including guarantees), (ii)
                                 the consent of 100% of the Lenders will be required with respect
                                 to (A) changes in the voting thresholds and (B) releases of all or
                                 substantially all the value of the guarantees or releases of liens
                                 on all or substantially all of the Collateral (in each case, other
                                 than as permitted under the ABL Facility), (iii) increases to the
                                 advance rates set forth in the definition of Borrowing Base and
                                 changes to the eligibility criteria applicable to the Borrowing
                                 Base which have the effect of increasing availability thereunder
                                 shall require the approval of Lenders holding more than 66 2/3%
                                 of the ABL Commitments and (iv) customary protections for the
                                 ABL Administrative Agent and the Issuing Lenders will be
                                 provided.

                                 Notwithstanding anything to the contrary, in connection with any
                                 determination as to whether the Required Lenders have
                                 consented (or not consented) to any amendment or waiver, any
                                 non-defaulting Lender (other than (x) any Lender that is a
                                 Regulated Bank or an affiliate of a Regulated Bank and (y) any


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                    Lender that is the ABL Administrative Agent or an affiliate of
                    the ABL Administrative Agent) that owns, directly or indirectly,
                    any equity in the Borrower (each, an “Affiliated Lender”) shall
                    have no right to vote any of its ABL Loans and ABL
                    Commitments and shall be deemed to have voted its interest as a
                    Lender without discretion in the same proportion as the
                    allocation of voting with respect to such matter by Lenders who
                    are not Affiliated Lenders; provided that Apollo entities that are
                    Lenders on the Closing Date (the “Closing Date Apollo
                    Entities”) shall be entitled to vote their ABL Loans and ABL
                    Commitments so long as such entities are Debt Fund Affiliates
                    and provided that, with respect to any such vote, any ABL Loans
                    and ABL Commitments of the Closing Date Apollo Entities in
                    excess of 12% of the aggregate ABL Commitments as of such
                    date shall be deemed to have voted in the same proportion as
                    other ABL Lenders that are not Closing Date Apollo Entities.

                    “Regulated Bank” means an Approved Bank that is (i) a U.S.
                    depository institution the deposits of which are insured by the
                    Federal Deposit Insurance Corporation; (ii) a corporation
                    organized under section 25A of the U.S. Federal Reserve Act of
                    1913; (iii) a branch, agency or commercial lending company of a
                    foreign bank operating pursuant to approval by and under the
                    supervision of the Board of Governors under 12 CFR part 211;
                    (iv) a non-U.S. branch of a foreign bank managed and controlled
                    by a U.S. branch referred to in clause (iii); or (v) any other U.S.
                    or non-U.S. depository institution or any branch, agency or
                    similar office thereof supervised by a bank regulatory authority
                    in any jurisdiction.

                    “Approved Bank” means any domestic or foreign commercial
                    bank having capital and surplus of not less than $250,000,000 in
                    the case of U.S. banks or $100,000,000 (or the dollar equivalent
                    as of the date of determination) in the case of non-U.S. banks.

                    “Debt Fund Affiliate” means any investment fund, separate
                    account, or other entity owned (in whole or in part), controlled,
                    managed and/or advised by any affiliate of Apollo Global
                    Management, Inc. (a) that is primarily engaged in, or advises
                    funds or other investment vehicles that are engaged in, making,
                    purchasing, holding or otherwise investing in commercial loans,
                    bonds and similar extensions of credit in the ordinary course, (b)
                    that does not directly or indirectly have beneficial ownership of
                    equity interests of the Borrower or any Subsidiary and (c) which
                    is not managed on a day to day basis by Persons responsible for
                    the management of the Borrower on a day to day.

                    The ABL Credit Documentation shall contain customary
                    provisions for replacing non-consenting Lenders in connection
                    with amendments and waivers requiring the consent of all



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                                Lenders or of all Lenders directly affected thereby so long as the
                                Required Lenders shall have consented thereto.

Assignments and
Participations:
                                The Lenders shall be permitted to assign (other than to a natural
                                person) all or a portion of their ABL Loans and ABL
                                Commitments with the consent, not to be unreasonably withheld
                                or delayed, of (a) the Borrower, unless (i) the assignee is a
                                Lender, an affiliate of a Lender or an approved fund or (ii) a
                                payment or bankruptcy event of default has occurred and is
                                continuing; provided that such consent shall be deemed given if
                                the Borrower has not responded within ten (10) business days
                                following written notice, (b) the ABL Administrative Agent,
                                unless the assignee is a Lender or an affiliate of a Lender that is
                                a Regulated Bank, and (c) any Issuing Lender. In the case of a
                                partial assignment (other than to another Lender, an affiliate of a
                                Lender or an approved fund), the minimum assignment amount
                                shall be $2,500,000, unless otherwise agreed by the Borrower
                                and the ABL Administrative Agent. The ABL Administrative
                                Agent shall receive a processing and recordation fee of $3,500 in
                                connection with each assignment. The Lenders shall also be
                                permitted to sell participations in their ABL Loans (other than to
                                a natural person, a defaulting lender, Holdings, the Borrower or
                                any of its affiliates), provided that the obligations under the
                                ABL Credit Documentation for such Lender selling a
                                participation shall remain unchanged and such Lender shall
                                remain solely responsible to the other parties under the ABL
                                Credit Documentation for the performance of such obligations.
                                Participants shall have the same benefits as the selling Lenders
                                with respect to yield protection and increased cost provisions,
                                subject to customary limitations. Voting rights of participants
                                shall be limited to matters that require the consent of each
                                Lender directly affected thereby and that directly affect such
                                Participant. Pledges of ABL Loans in accordance with
                                applicable law shall be permitted without restriction.

                                No assignment or participation may be made or sold to the
                                Borrower or any of its affiliates.

Field Examinations:             Upon reasonable notice to the Borrower, field examinations will
                                be conducted on an ongoing basis at regular intervals at the
                                discretion of the ABL Administrative Agent to ensure the
                                adequacy of Borrowing Base collateral and related reporting and
                                control systems. No more than one field examination per year
                                will be conducted; provided that one additional field examination
                                may be performed if Excess Availability is less than the greater
                                of (x) 20% of the Line Cap and (y) $15 million for a period of
                                five (5) consecutive business days; provided, further, that there
                                shall be no limitation on the number or frequency of field
                                examinations if an Event of Default shall have occurred and be


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                                 continuing. Each such field examination shall be at the
                                 Borrower’s expense and in a form reasonably satisfactory to the
                                 ABL Administrative Agent.

Inventory Appraisals:            Upon reasonable notice to the Borrower, inventory appraisals
                                 will be conducted on an ongoing basis at regular intervals at the
                                 discretion of the ABL Administrative Agent. No more than one
                                 inventory appraisal per year will be conducted; provided that one
                                 additional inventory appraisal may be performed if Excess
                                 Availability is less than the greater of (x) 20% of the Line Cap
                                 and (y) $15 million for a period of five (5) consecutive business
                                 days; provided, further, that there shall be no limitation on the
                                 number or frequency of inventory appraisals if an Event of
                                 Default shall have occurred and be continuing; provided, further,
                                 that the ABL Administrative Agent shall have the right, but not
                                 the obligation, to conduct an additional inventory appraisal if the
                                 value of inventory designated in the subledger as film inventory
                                 of the Borrowing Base Loan Parties (valued at the lower of cost
                                 and market) is greater than 50% of the value of the total
                                 inventory of the Borrowing Base Loan Parties (valued at the
                                 lower of cost and market). Each such inventory appraisal shall be
                                 at the Borrower’s expense and in a form reasonably satisfactory
                                 to the ABL Administrative Agent.

Unrestricted Subsidiaries:       Consistent with similar transactions of this kind, the ABL Credit
                                 Documentation shall contain provisions pursuant to which,
                                 subject to customary limitations on investments, loans, advances
                                 to and other investments in, unrestricted subsidiaries, the
                                 Borrower will be permitted to designate any existing or
                                 subsequently acquired or organized subsidiary as an
                                 “unrestricted subsidiary” and subsequently re-designate any such
                                 unrestricted subsidiary as a “restricted subsidiary”; provided that
                                 (i) no default shall have occurred and be continuing or would
                                 result from any such designation, (ii) after giving pro forma
                                 effect to such designation or redesignation, the Borrower shall be
                                 in compliance with the Financial Covenant (whether or not then
                                 in effect), (iii) no restricted subsidiary shall be designated as an
                                 unrestricted subsidiary if it owns material intellectual property,
                                 (iv) the Payment Conditions are satisfied, (v) such designation of
                                 a restricted subsidiary to an unrestricted subsidiary shall be made
                                 in compliance with the investments covenant and (vi) such
                                 redesignation of any unrestricted subsidiary as a restricted
                                 subsidiary shall be deemed to constitute the incurrence of
                                 indebtedness and liens of such subsidiary (to the extent
                                 assumed). Unrestricted subsidiaries will not be subject to the
                                 mandatory prepayment, representation and warranty, affirmative
                                 or negative covenant or event of default provisions of the ABL
                                 Credit Documentation and the results of operations, indebtedness
                                 and interest expense of unrestricted subsidiaries will not be taken
                                 into account for purposes of determining any financial ratio or
                                 covenant contained in the ABL Credit Documentation. No


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                                 subsidiary may be designated an “unrestricted subsidiary” unless
                                 it is also designated as such under the Term Loan Credit
                                 Documentation or any other instrument governing material
                                 indebtedness in excess of $35 million.

Yield Protection:                The ABL Credit Documentation shall contain customary
                                 provisions (a) protecting the Lenders against increased costs or
                                 loss of yield resulting from changes in reserve, tax, capital
                                 adequacy, liquidity requirements and other requirements of law
                                 (provided that (i) all requests, rules, guidelines, requirements and
                                 directives promulgated by the Bank for International
                                 Settlements, the Basel Committee on Banking Supervision or by
                                 United States or foreign regulatory authorities, in each case
                                 pursuant to Basel III, and (ii) the Dodd-Frank Wall Street
                                 Reform and Consumer Protection Act and all requests, rules,
                                 guidelines, requirements and directives thereunder or issued in
                                 connection therewith or in implementation thereof, shall in each
                                 case be deemed to be a change in law, regardless of the date
                                 enacted, adopted, issued or implemented) and from the
                                 imposition of or changes in withholding or other taxes (including
                                 appropriate gross-up provisions) and (b) indemnifying the
                                 Lenders for “breakage costs” incurred in connection with, among
                                 other things, any prepayment of a Term Benchmark Loan (as
                                 defined in Annex I) on a day other than the last day of an interest
                                 period with respect thereto.

Defaulting Lenders:              The ABL Credit Documentation shall contain provisions relating
                                 to “defaulting” Lenders (including provisions relating to
                                 reallocation of participations in, or the Borrower providing cash
                                 collateral to support or Letters of Credit, to the suspension of
                                 voting rights and rights to receive certain fees, and to assignment
                                 of the ABL Commitments or ABL Loans of such Lenders).

Expenses and Indemnification:    Neither Holdings nor any of its subsidiaries, nor the ABL
                                 Administrative Agent, the ABL Commitment Parties, the
                                 Lenders nor the Issuing Lenders (or any of their affiliates or their
                                 respective officers, directors, employees, advisors and agents)
                                 shall have any Liabilities, on any theory of liability, for any
                                 special, indirect, consequential or punitive damages incurred by
                                 any other party to the ABL Credit Documentation arising out of,
                                 in connection with, or as a result of, the ABL Facility or the
                                 ABL Credit Documentation.           As used herein, the term
                                 “Liabilities” shall mean any losses, claims (including intraparty
                                 claims), demands, damages or liabilities of any kind.

                                 Regardless of whether the Closing Date occurs, the Borrower
                                 shall pay (a) all reasonable and documented out-of-pocket
                                 expenses of the ABL Administrative Agent and the ABL
                                 Commitment Parties associated with the syndication of the ABL
                                 Facility and the preparation, execution, delivery and
                                 administration of the ABL Credit Documentation and any


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                    amendment, modification or waiver with respect thereto
                    (including the reasonable fees, disbursements and other charges
                    of one primary counsel and one local counsel in each applicable,
                    jurisdiction for the ABL Administrative Agent and the ABL
                    Commitment Parties taken as a whole), (b) all documented out-
                    of-pocket expenses of the ABL Administrative Agent, the
                    Lenders and the Issuing Lenders (including the fees,
                    disbursements and other charges of counsel) in connection with
                    the enforcement of the ABL Credit Documentation and (c)
                    subject to the limitations set forth in the ABL Credit
                    Documentation, reasonable out-of-pocket fees and expenses
                    associated with collateral monitoring, collateral reviews
                    (including field examination fees) and appraisals, environmental
                    reviews and fees and expenses of other advisors and
                    professionals engaged by the ABL Administrative Agent or
                    (prior to the Closing Date) the ABL Commitment Parties.

                    The ABL Administrative Agent, the ABL Commitment Parties,
                    the Lenders and the Issuing Lenders (and their affiliates and their
                    respective officers, directors, employees, advisors and agents)
                    (each, an “Indemnified Person”) will be indemnified and held
                    harmless against Liabilities or expenses (including the fees,
                    disbursements and other charges of counsel) incurred by such
                    Indemnified Person in connection with or as a result of (i) the
                    execution and delivery of the ABL Credit Documentation and
                    any agreement or instrument; (ii) the funding of the ABL
                    Facility, issuance of letters of credit thereunder, or the or the use
                    or the proposed use of proceeds thereof; (iii) any act or omission
                    of the ABL Administrative Agent in connection with the
                    administration of the ABL Credit Documentation; (iv) any actual
                    or alleged presence or release of hazardous materials on or from
                    any property owned or operated by Holdings, the Borrower or
                    any of its subsidiaries, or any environmental liability resulting
                    from the handling of hazardous materials or violation of
                    environmental laws, related in any way to Holdings, the
                    Borrower or any of its subsidiaries and (v) any actual or
                    prospective claim, litigation, investigation, arbitration or
                    administrative, judicial or regulatory action or proceeding (each,
                    a “Proceeding”) in any jurisdiction relating to any of the
                    foregoing (including in relation to enforcing the terms of the
                    limitation of liability and indemnification referred to above),
                    regardless of whether or not any Indemnified Person is a party
                    thereto and whether or not such Proceeding is brought by
                    Holdings, the Borrower, their affiliates or equity holders or any
                    other party; provided that such indemnification shall not, as to
                    any Indemnified Person, be available to the extent that such
                    Liabilities or expenses are determined by a court of competent
                    jurisdiction by final and nonappealable judgment to have
                    resulted from the gross negligence or willful misconduct of such
                    Indemnified Person in performing its activities or in furnishing



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                                    its commitments      or   services    under   the   ABL   Credit
                                    Documentation.

EU/UK Bail-In Provisions:           The ABL Credit Documentation will contain customary EU/UK
                                    bail-in provisions on terms to be mutually agreed subject to the
                                    ABL Documentation Principles.

QFC Provisions:                     The ABL Credit Documentation will contain customary “QFC”
                                    provisions on terms to be mutually agreed subject to the ABL
                                    Documentation Principles.

Erroneous Payments:                 The ABL Credit Documentation will contain customary
                                    erroneous payment provisions on terms to be mutually agreed
                                    subject to the ABL Documentation Principles.

Governing Law:                      New York.

Forum:                              United States District Court for the Southern District of New
                                    York sitting in the Borough of Manhattan (or if such court lacks
                                    subject matter jurisdiction, the Supreme Court of the State of
                                    New York sitting in the Borough of Manhattan), and any
                                    appellate court from any thereof.

Counsel to the ABL Administrative
Agent:                              Simpson Thacher & Bartlett LLP.




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                                                                                          Annex I

INTEREST AND CERTAIN FEES

Interest Rate Options:           The Borrower may elect that the ABL Loans comprising each
                                 borrowing bear interest at a rate per annum equal to (a) the ABR
                                 plus the Applicable Margin or (b) the Adjusted Term SOFR
                                 Rate, in each case, plus the Applicable Margin.

                                 As used herein:

                                 “ABR” means the highest of (i) the rate of interest last quoted by
                                 The Wall Street Journal in the U.S. as the prime rate in effect
                                 (the “Prime Rate”), (ii) the NYFRB Rate from time to time plus
                                 0.50% and (iii) the Adjusted Term SOFR Rate applicable for an
                                 interest period of one month plus 1.00%. If the ABR as
                                 determined pursuant to the foregoing would be less than 1.00%,
                                 such rate shall be deemed to be 2.00%.

                                 “ABR Loans” means ABL Loans bearing interest based upon the
                                 ABR.

                                 “Adjusted Term SOFR Rate” means the Term SOFR Rate, plus
                                 0.10%; provided that if the Adjusted Term SOFR Rate as so
                                 determined would be less than the Floor, such rate shall be
                                 deemed to be equal to the Floor for the purposes of calculating
                                 such rate.

                                 “Applicable Margin” means 1.00% in the case of ABR Loans
                                 and % in the case of Term Benchmark Loans through the
                                 first full fiscal quarter after the Closing Date and, thereafter,
                                 subject to adjustment in accordance with the Pricing Grids (as
                                 defined below).

                                 “CME Term SOFR Administrator” means CME Group
                                 Benchmark Administration Limited as administrator of the
                                 forward-looking term Secured Overnight Financing Rate (SOFR)
                                 (or a successor administrator).

                                 “Federal Funds Effective Rate” means, for any day, the rate
                                 calculated by the Federal Reserve Bank of New York (the
                                 “NYFRB”) based on such day’s federal funds transactions by
                                 depositary institutions, as determined in such manner as the
                                 NYFRB shall set forth on its public website from time to time,
                                 and published on the next succeeding business day by the
                                 NYFRB as the federal funds effective rate, provided that if the
                                 Federal Funds Effective Rate shall be less than zero, such rate
                                 shall be deemed to zero for the purposes of calculating such rate.

                                 “Floor” means the benchmark rate floor, if any, provided in the
                                 ABL Credit Documentation initially (as of the execution of the
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                    ABL Credit Documentation, the modification, amendment or
                    renewal of the ABL Credit Documentation or otherwise) with
                    respect to the Adjusted Term SOFR Rate. For the avoidance of
                    doubt the initial Floor for Adjusted Term SOFR Rate shall be
                    1.00%.

                    “Interest Period” means, with respect to any Term Benchmark, a
                    period of one, three or six months.

                    “NYFRB Rate” means, for any day, the greater of (a) the Federal
                    Funds Effective Rate in effect on such day and (b) the Overnight
                    Bank Funding Rate in effect on such day; provided that if any of
                    the aforesaid rates shall be less than zero, such rate shall be
                    deemed to zero for the purposes of calculating such rate.

                    “Overnight Bank Funding Rate” means, for any day, the rate
                    comprised of both overnight federal funds and overnight
                    eurodollar transactions denominated in U.S. Dollars by U.S.-
                    managed banking offices of depository institutions, as such
                    composite rate shall be determined by the NYFRB as set forth on
                    its public website from time to time, and published on the next
                    succeeding Business Day by the NYFRB as an overnight bank
                    funding rate (from and after such date as the NYFRB shall
                    commence to publish such composite rate).

                    “SOFR” means, with respect to any business day, a rate per
                    annum equal to the secured overnight financing rate for such
                    business day published by the NYFRB on the NYFRB’s on the
                    immediately succeeding business day.

                    “Term Benchmark” when used in reference to any Loan or
                    Borrowing, refers to whether such Loan, or the Loans
                    comprising such Borrowing, bear interest at a rate determined by
                    reference to the Adjusted Term SOFR Rate.

                    “Term Benchmark Loans” means ABL Loans bearing interest
                    based upon the Term Benchmark Rate.

                    “Term SOFR Rate” means, with respect to any Term Benchmark
                    Borrowing denominated in U.S. Dollars for any Interest Period,
                    the Term SOFR Reference Rate at approximately 5:00 a.m.,
                    Chicago time, two U.S. Government Securities Business Days
                    prior to the commencement of such Interest Period, as such rate
                    is published by the CME Term SOFR Administrator.

                    “Term SOFR Reference Rate” means, for any day and time, with
                    respect to any Term Benchmark Borrowing denominated in U.S.
                    Dollars for any Interest Period, the rate per annum determined by
                    the Administrative Agent as the forward-looking term rate based
                    on SOFR.
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                                    “U.S. Government Securities Business Day” means any day
                                    except for (i) a Saturday, (ii) a Sunday or (iii) a day on which the
                                    Securities Industry and Financial Markets Association
                                    recommends that the fixed income departments of its members
                                    be closed for the entire day for purposes of trading in United
                                    States government securities.

                                    The ABL Credit Documentation will contain provisions to be
                                    mutually agreed with respect to a replacement of any Term
                                    Benchmark.

Interest Payment Dates:             In the case of ABR Loans, quarterly in arrears, on the first day of
                                    each calendar quarter.

                                    In the case of Term Benchmark Loans, on the last day of each
                                    relevant interest period and, in the case of any interest period
                                    longer than three months, on each successive date three months
                                    after the first day of such interest period.

Commitment Fees:                    The Borrower shall pay a commitment fee calculated at a rate
                                    per annum equal to 0.50% on the average daily unused portion of
                                    the ABL Facility (based on total commitments).

Pricing Grids:                      Commencing two full fiscal quarters after the Closing Date, the
                                    Applicable Margins and commitment fees will be subject to
                                    pricing adjustment as set forth in the Pricing Grids attached
                                    hereto as Annex I-A.

Letter of Credit Fees:              The Borrower shall pay a fee on the face amount of each Letter
                                    of Credit at a per annum rate equal to the Applicable Margin
                                    then in effect with respect to Term Benchmark Loans under the
                                    ABL Facility. Such fee shall be shared ratably among the
                                    Lenders participating in the ABL Facility and shall be payable
                                    quarterly in arrears.

                                    A fronting fee in an amount equal to 0.125% of the face amount
                                    of each Letter of Credit shall be payable quarterly in arrears to
                                    the Issuing Lender for its own account. In addition, customary
                                    administrative, issuance, amendment, payment and negotiation
                                    charges shall be payable to the Issuing Lender for its own
                                    account.

Default Rate:                       At any time when the Borrower is in default in the payment of
                                    any amount under the ABL Facility, after giving effect to any
                                    applicable grace period, the Required Lenders may elect that all
                                    outstanding amounts under the ABL Facility shall bear interest at
                                    2.00% per annum above the rate otherwise applicable thereto (or,
                                    in the event there is no applicable rate, 2.00% per annum in
                                    excess of the rate otherwise applicable to ABL Loans maintained
                                    as ABR Loans from time to time).
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Rate and Fee Basis:              All per annum rates shall be calculated on the basis of a year of
                                 360 days (or 365/366 days, in the case of ABR Loans the interest
                                 rate payable on which is then based on the Prime Rate) for actual
                                 days elapsed.
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                                                                                                Annex I-A



           Level              Excess Availability      Term                ABR Applicable
                                                       Benchmark           Margin
                                                       Applicable
                                                       Margin
           Level I
                              > 66%                    3.00%               2.00%

           Level II
                              < 66% but > 33%          3.25%               2.25%

           Level III
                              < 33%                    3.50%               2.50%




The applicable margins and fees shall be determined in accordance with the foregoing tables based on the
most recent Borrowing Base certificate delivered pursuant to the ABL Credit Documentation.
Adjustment, if any, to the applicable margins and fees shall be effective three (3) business days after the
ABL Administrative Agent has received the applicable Borrowing Base certificate. If the Borrower fails
to deliver the Borrowing Base certificate to the ABL Administrative Agent at the time required pursuant
to the ABL Credit Documentation, then the ABL Administrative Agent shall, at the direction of the
Required Lenders only, declare the applicable margins and fees to be the highest applicable margin and
fees set forth in the foregoing table until the date that such Borrowing Base certificate is so delivered.
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                       EXHIBIT B

                    CONDITIONS ANNEX
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Exhibit B

                                                Conditions

        The availability of the ABL Facility shall be subject to the satisfaction of the following
conditions. Capitalized terms used but not defined herein have the meanings set forth in the Summary of
Terms and Conditions.

1.      The Borrower, each Guarantor, the Administrative Agent and the ABL Commitment Parties shall
have executed and delivered the ABL Credit Documentation to which it is a party, including the
Intercreditor Agreement (collectively, the “Facility Documentation”), which shall be in accordance with
the terms of the Term Sheet and reasonably satisfactory to the ABL Commitment Parties, and the ABL
Administrative Agent shall have received:

a.       customary insurance certificates, officer’s certificate, closing certificates, good standing
certificates and legal opinions; and

b.       a solvency certificate, dated the Closing Date, in the form attached hereto as Annex II-I, executed
by the chief financial officer of the Borrower, certifying that the Borrower and its subsidiaries, on a
consolidated basis after giving effect to the Transactions and the incurrence of the Term Loan Facility
(the Transactions together with the incurrence of the Term Loan Facility, the “Debt Transactions”), are
solvent.

2.       Except as contemplated by the ABL Credit Documentation, on the Closing Date, and after giving
effect to the Debt Transactions, neither Holdings nor any of its subsidiaries shall have any material
indebtedness for borrowed money (excluding, for the avoidance of doubt, capital lease obligations,
purchase money debt and intercompany indebtedness), other than the ABL Facility and the Term Loan
Facility.

3.       The ABL Commitment Parties shall have received (a) audited consolidated balance sheets and
related statements of income and cash flows of the Borrower and its subsidiaries, in each case for the
fiscal years ended December 31, 2019 and December 31, 2020, (b) unaudited consolidated balance sheets
and related statements of income and cash flows of the Borrower and its subsidiaries, in each case for the
fiscal year ended December 31, 2021 and (c) unaudited consolidated balance sheets and related
statements of income and cash flows of the Borrower and its subsidiaries for each subsequent fiscal
quarter ended (that is not a fiscal year-end) at least forty-five (45) days before the Closing Date.

4.       The ABL Commitment Parties shall have received a pro forma consolidated balance sheet and
related pro forma consolidated statement of income of the Borrower and its subsidiaries as of and for the
twelve-month period ending on the last day of the most recently completed four-fiscal quarter period
ended at least forty-five (45) days prior to the Closing Date, prepared after giving effect to the Debt
Transactions as if the Debt Transactions had occurred as of such date (in the case of such balance sheet)
or at the beginning of such period (in the case of such statement of income).

5.      The ABL Commitment Parties shall have received, at least five (5) business days prior to the
Closing Date (a) all documentation and other information about the Borrower and the Guarantors that
shall have been reasonably requested by the ABL Commitment Parties in writing at least ten (10)
business days prior to the Closing Date and that the ABL Commitment Parties reasonably determine is
required by bank regulatory authorities under applicable “know-your-customer” and anti-money
laundering rules and regulations, including the PATRIOT Act and (b) if the Borrower qualifies as a “legal
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entity” customer under the Beneficial Ownership Regulation, and to the extent requested by any Lender at
least five (5) days prior to the Closing Date, a Beneficial Ownership Certificate.

6.     All costs, fees and expenses (including, without limitation, reasonable and documented legal fees
and expenses of one primary counsel to the ABL Administrative Agent and one local counsel to the ABL
Administrative Agent in each relevant jurisdiction invoiced to the Borrower at least two (2) Business
Days prior to the Closing Date) and other compensation required to be paid by the Borrower to the ABL
Commitment Parties, the ABL Administrative Agent or the Lenders shall have been paid to the extent
due.

7.       All actions necessary to establish that the ABL Administrative Agent will have a perfected
security interest (subject to permitted liens and other exceptions to be agreed consistent with the ABL
Documentation Principles) in the Collateral under the ABL Facility shall have been taken; provided that,
to the extent any action, filing, notice, agreement or pledge is designated under the Facility
Documentation as a post-closing requirement by the ABL Administrative Agent, such action or document
shall not be required to be completed on the Closing Date but shall instead by required to be completed by
the date separately designated thereunder.

8.       The ABL Commitment Parties shall have received the results of recent lien and judgment
searches in each of the jurisdictions where the Loan Parties are located (within the meaning of Section 9-
307 of the New York UCC, the PPSA or the corresponding code or statute of any other applicable
jurisdiction) and such searches shall reveal no liens on any of the assets of the Loan Parties (except for
liens permitted under the Definitive Documentation), or any such Liens (except for liens permitted under
the Definitive Documentation) shall be discharged on or prior to the Closing Date pursuant to customary
documentation reasonably satisfactory to the ABL Administrative Agent.

9.      At least three (3) business days prior to the Closing Date, the Borrower shall have provided the
ABL Administrative Agent with a completed borrowing base certificate, calculated in accordance with
Exhibit A, prepared as at the end of the most recent calendar month ended at least twenty (20) business
days (or such shorter period as may be elected by the Borrower) prior to the Closing Date.

10.      (a) No more than $47,424,495.19 (but no less than the outstanding principal amount of the
aggregate Revolving Loans and Specified Swap Obligations (as defined in the Prepetition First Lien
Credit Agreement) of the Commitment Parties)) of ABL Loans shall be drawn on the Closing Date, (b) no
letters of credit shall be issued (or deemed issued) under the ABL Facility on the Closing Date and (c)
substantially simultaneously with the initial drawings under the ABL Facility, such drawings shall be
applied to the Allowed (as defined in the Plan) First Lien Revolving Claims (as defined in the Plan) of the
Commitment Parties in satisfaction in full of the Commitment Parties’ Plan treatment as set forth in
Article III.B.3(c)(ii)(B), and any funded amounts in excess thereof shall be applied to the Allowed First
Lien Revolving Claims of any lenders in respect of the ABL Facility that are not Commitment Parties (to
the extent of such outstanding Allowed First Lien Revolving Claims and not to exceed the ABL Funded
Rollover Cap (as defined in the Plan)) in satisfaction of such lenders’ Plan treatment as set forth in Article
III.B.3(c)(ii)(A)(x).

11.     On the Closing Date, (i) the accuracy in all material respects (or in all respects if qualified by
materiality) of the representations and warranties in the Facility Documentation and (ii) there being no
default or event of default in existence at the time of, or immediately after giving effect to, the Closing
Date and any extensions of credit to be made on such date.

12.      Since December 31, 2021 and after taking into account the Debt Transactions and after giving
effect to the consummation of the Plan, there not having been any change, development or event that,
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individually or in the aggregate, has had or would reasonably be expected to have a material adverse
effect on the business, properties, assets, financial condition or results of operations of the Borrower and
its subsidiaries, taken as a whole, other than as a result of events leading up to, resulting from and/or
following the commencement of their proceedings under chapter 11 of the Bankruptcy Code or the
continuation and prosecution thereof (including the announcement of the filing or commencement of the
Cases).

13.     The order confirming the Plan shall have become a Final Order (as defined in the Plan) and such
order shall not have been amended, modified, vacated, stayed or reversed.

14.      The conditions precedent to the confirmation of the Plan set forth in the Plan shall have occurred
and the conditions precedent to the Effective Date (as defined in the Plan) shall have occurred. With
respect to such conditions precedent to the confirmation of the Plan and Effective Date, the Borrower
shall have confirmed to Administrative Agent in writing that such conditions precedent have been
satisfied or waived and that the Effective Date has occurred. All other actions, documents and
agreements necessary to implement the Plan shall have been effected or executed and delivered, as the
case may be, to the required parties and, to the extent required, filed with the applicable governmental
units in accordance with applicable laws.

15.    There shall be no adversary proceeding pending in the Bankruptcy Court, or litigation
commenced outside of the bankruptcy proceedings that is not stayed pursuant to section 362 of the
Bankruptcy Code, seeking to enjoin or prevent the Transactions.

16.     The Rights Offering (as defined in the Plan) shall have closed in accordance with its terms and
the Borrower shall have received the proceeds therefrom and applied such proceeds (if any) in accordance
with the Plan.

17.      As of the Effective Date (as defined in the Plan) and after giving effect to the Restructuring
Transactions (as defined in the Plan), the Reorganized Debtors (as defined in the Plan) and the Foreign
Guarantor Subsidiaries (as defined in the Plan) shall have Minimum Liquidity. “Minimum Liquidity”
means, with respect to the Reorganized Debtors and the Foreign Guarantor Subsidiaries (as defined in the
Plan) as of the Effective Date, an amount of total available liquidity equal to $100 million, including (a) at
least $60 million of unrestricted balance sheet cash for the Reorganized Debtors and foreign subsidiaries,
after taking into account (x) any Cash (as defined in the Plan) distributions to be paid under the Plan on or
about the Effective Date and (y) any amounts that may come due after the Effective Date on account of
Allowed Professional Fee Claims (as defined in the Plan as), net of the aggregate amount funded into the
Professional Escrow Account (as defined in the Plan) pursuant to Article II.C of the Plan.

18.     The Plan shall not have been amended, supplemented or modified in a manner that is materially
adverse to the interests of the Commitment Parties without the consent of the Commitment Parties and as
further           set            forth        in            the           Commitment            Letter..
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Annex II-I

                                 FORM OF SOLVENCY CERTIFICATE

This Certificate is being delivered pursuant to Section [ ] of the Credit Agreement dated as of [ ], 2022
(the “Credit Agreement”), among Carestream Health, Inc. (the “Borrower”), Carestream Health Holdings,
Inc. (“Holdings”), the lenders from time to time party thereto and JPMorgan Chase Bank, N.A., as
administrative agent. Unless otherwise defined herein, terms used herein have the meanings provided in
the Credit Agreement.

[ ] hereby certifies that he is the Chief Financial Officer of the Borrower and that he/she is
knowledgeable of the financial and accounting matters of the Borrower and its Subsidiaries, the Credit
Agreement and the covenants and representations (financial and other) contained therein and that, as such,
he is authorized to execute and deliver this Certificate on behalf of the Borrower.

The undersigned hereby further certifies, solely in his/her capacity as Chief Financial Officer of the
Borrower and not in an individual capacity, as follows:

         1.     As of the date hereof, immediately after giving effect to the consummation of the
Transactions and the incurrence of the Term Loan Facility (collectively, the “Debt Transactions”), in each
case to occur on and as of the Closing Date, including the making of each Loan to be made on the Closing
Date and the application of the proceeds thereof, the fair value of the assets of the Borrower and its
Restricted Subsidiaries, on a consolidated basis, at a fair valuation, will exceed their debts and liabilities,
subordinated, contingent or otherwise on a consolidated basis.

        2.      As of the date hereof, immediately after giving effect to the consummation of the Debt
Transactions to occur on and as of the Closing Date, including the making of each Loan to be made on the
Closing Date and the application of the proceeds thereof, the present fair saleable value of the property of
the Borrower and its Restricted Subsidiaries, on a consolidated basis, will, as of such date, be greater than
the amount that will be required to pay the probable liabilities on their debts and other liabilities,
subordinated, contingent or otherwise, as such debts and other liabilities become absolute and matured.

        3.      As of the date hereof, immediately after giving effect to the consummation Debt
Transactions to occur on and as of the Closing Date, including the making of each Loan to be made on the
Closing Date and the application of the proceeds thereof, the Borrower and its Restricted Subsidiaries, on
a consolidated basis, will be able to pay their debts and liabilities, subordinated, contingent or otherwise,
as such debts and liabilities become absolute and matured in the ordinary course.

         4.      As of the date hereof, immediately after giving effect to the consummation Debt
Transactions to occur on and as of the Closing Date, including the making of each Loan to be made on the
Closing Date and the application of the proceeds thereof, the Borrower and its Restricted Subsidiaries, on
a consolidated basis, will not have an unreasonably small capital with which to conduct the businesses in
which they are engaged as such businesses are now conducted and proposed to be conducted following
the date hereof.

The financial information, projections and assumptions which underlie and form the basis for the
representations made in this certificate were based upon good faith estimates and assumptions believed to
be reasonable to the management of the Borrower at the time made, in light of the circumstances under
which they were made (it being understood that such financial information, projections or forecasts as
they relate to future events are not to be viewed as fact and that actual results during the period or periods
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covered by such financial information, projections or assumptions may differ from the projected results
set forth therein by a material amount).

In computing the amount of the contingent liabilities of the Borrower and its Restricted Subsidiaries as of
the date hereof, such liabilities have been computed at the amount that, in light of all the facts and
circumstances existing as of the date hereof, represents the amount that can reasonably be expected to
become an actual or matured liability.

                             [Remainder of this page intentionally left blank]
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        IN WITNESS WHEREOF, the undersigned has executed this Certificate solely in his capacity as
Chief Financial Officer of the Borrower (and not in an individual capacity) this [ ] day of [ ], 2022.

                                               CARESTREAM HEALTH, INC.


                                               By:
                                                     Name:
                                                     Title: Chief Financial Officer
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                          Exhibit C

                    Commitment Fee Letter
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                                                                                          Execution Version



          JPMORGAN CHASE BANK, N.A.                                    CREDIT SUISSE AG
               383 Madison Avenue                                     Eleven Madison Avenue
            New York, New York 10179                                 New York, New York 10010

                                 APOLLO CREDIT MASTER FUND LTD.
                                          9 West 57th Street
                                      New York, New York 10019


                                                                                             August 20, 2022


Carestream Health, Inc.
150 Verona Street
Rochester, New York 14608
Attention: Scott Rosa and Robert Johnson

                                          Commitment Fee Letter

Ladies and Gentlemen:

        Reference is made to the Commitment Letter dated the date hereof (including the exhibits thereto,
the “Commitment Letter”) among us and you, regarding the Transactions described therein. Capitalized
terms used but not defined herein are used with the meanings assigned to them in the Commitment Letter.
This letter agreement (this “Fee Letter”) is the Commitment Fee Letter referred to in the Commitment
Letter.

1.      Fees

        As consideration for the agreements and commitments under the Commitment Letter, you agree to
pay or cause to be paid to each of JPMorgan Chase Bank, CS and Apollo, for the respective account of each
of JPMorgan Chase Bank, CS and Apollo, a commitment fee (the “Commitment Fee”) in an amount equal
to        of the respective amount of commitments of each of JPMorgan Chase Bank, CS and Apollo in
respect of the ABL Facility under the Commitment Letter as in effect on the date hereof, which
Commitment Fee shall be payable on the Closing Date.

        You agree that, once paid, the fees or any part thereof payable hereunder shall not be refundable
under any circumstances, except as otherwise agreed in writing. All fees payable hereunder shall be paid
in U.S. Dollars and in immediately available funds and shall be in addition to reimbursement of our out-of-
pocket expenses as provided for in the Commitment Letter. In addition, all such payments will be made
without deduction for any taxes, levies, imposts, duties, deductions, charges or withholdings imposed by
any federal, State or local taxing authority, or will be grossed up by you for such amounts. You agree that
we may, in our sole discretion, share all or a portion of any of the fees payable pursuant to this Fee Letter
with any of our respective affiliates.

2.      Miscellaneous

        It is understood and agreed that this Fee Letter shall not constitute or give rise to any obligation to
provide any financing; such an obligation will arise only to the extent provided in the Commitment Letter
if accepted in accordance with its terms. This Fee Letter may not be amended or waived except by an
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instrument in writing signed by each Commitment Party and you. This Fee Letter shall be governed by,
and construed and interpreted in accordance with, the laws of the State of New York. This Fee Letter may
be executed in any number of counterparts, each of which shall be an original, and all of which, when taken
together, shall constitute one agreement. The words “execution,” “signed,” “signature,” “delivery,” and
words of like import in or relating to this Fee Letter and/or any document to be signed in connection with
this Fee Letter and the transactions contemplated hereby shall be deemed to include Electronic Signatures
(as defined below), deliveries or the keeping of records in electronic form, each of which shall be of the
same legal effect, validity or enforceability as a manually executed signature, physical delivery thereof or
the use of a paper-based recordkeeping system, as the case may be. “Electronic Signatures” means any
electronic symbol or process attached to, or associated with, any contract or other record and adopted by a
person with the intent to sign, authenticate or accept such contract or record.

         The provisions of this Fee Letter shall survive the expiration or termination of the Commitment
Letter (including any extensions thereof). You agree that this Fee Letter and its contents are subject to the
confidentiality provisions of the Commitment Letter.

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                         Exhibit D

                     Agency Fee Letter
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                                                                                         Execution Version



                                   JPMORGAN CHASE BANK, N.A.
                                        383 Madison Avenue
                                      New York, New York 10179


                                                                                           August 20, 2022


Carestream Health, Inc.
150 Verona Street
Rochester, New York 14608
Attention: Scott Rosa and Robert Johnson

                                     Administrative Agent Fee Letter

Ladies and Gentlemen:

         Reference is made to the Commitment Letter dated the date hereof (including the exhibits thereto,
the “Commitment Letter”) among us, you and the other parties party thereto, regarding the Transactions
described therein. Capitalized terms used but not defined herein are used with the meanings assigned to
them in the Commitment Letter. This letter agreement (this “Fee Letter”) is the Administrative Agent Fee
Letter referred to in the Commitment Letter.

1.      Fees

        As consideration for the agreements and commitments under the Commitment Letter, you agree to
pay or cause to be paid the following fees:

A.      To the Administrative Agent, for its own account, an annual administration fee in respect of the
        ABL Facility equal to           , which fee will be payable annually, in advance, commencing on
        the Closing Date (as defined below) and thereafter on each anniversary thereof prior to the
        termination of all commitments and repayment of all amounts under the ABL Facility. If prior to
        the final maturity date of the ABL Facility, the ABL Facility is fully prepaid and the commitments
        thereunder terminated, a part of such administrative agent fee will be refunded to the Borrower on
        the date of such prepayment and termination in proportion to (i) the number of days remaining until
        (but not including) the next anniversary of the Closing Date divided by (ii) the number of days in
        such period.

B.      To JPMorgan Chase Bank, for its own account, a one-time, non-refundable additional fee (the
        “Arrangement Fee”) in an amount equal to          , which Arrangement Fee shall be payable
        on the Closing Date.

        You agree that, once paid, the fees or any part thereof payable hereunder shall not be refundable
under any circumstances, except as otherwise agreed in writing. All fees payable hereunder shall be paid
in U.S. Dollars and in immediately available funds and shall be in addition to reimbursement of our out-of-
pocket expenses as provided for in the Commitment Letter. In addition, all such payments will be made
without deduction for any taxes, levies, imposts, duties, deductions, charges or withholdings imposed by
any federal, State or local taxing authority, or will be grossed up by you for such amounts. You agree that
we may, in our sole discretion, share all or a portion of any of the fees payable pursuant to this Fee Letter
with any of the other Lenders.
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    2. Miscellaneous

         It is understood and agreed that this Fee Letter shall not constitute or give rise to any obligation to
provide any financing; such an obligation will arise only to the extent provided in the Commitment Letter
if accepted in accordance with its terms. This Fee Letter may not be amended or waived except by an
instrument in writing signed by us and you. This Fee Letter shall be governed by, and construed and
interpreted in accordance with, the laws of the State of New York. This Fee Letter may be executed in any
number of counterparts, each of which shall be an original, and all of which, when taken together, shall
constitute one agreement. Delivery of an executed signature page of this letter agreement by facsimile
transmission or electronic transmission (e.g., “pdf” or “tif”) shall be effective as delivery of a manually
executed counterpart hereof.

         The provisions of this Fee Letter shall survive the expiration or termination of the Commitment
Letter (including any extensions thereof). You agree that this Fee Letter and its contents are subject to the
confidentiality provisions of the Commitment Letter.

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                        Exhibit E

                      Side Fee Letter
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                                                                                  EXECUTION VERSION
                                             BARCLAYS
                                          745 Seventh Avenue
                                       New York, New York 10019



PERSONAL AND CONFIDENTIAL

                                                                                           August 21, 2022

Carestream Health, Inc.
150 Verona Street
Rochester, New York 14608
Attention: Scott Rosa and Robert Johnson


                                                Fee Letter

Ladies and Gentlemen:

Reference is made in this letter (this “Fee Letter”) to that certain Commitment Letter among Carestream
Health, Inc., a Delaware corporation (“you”, “Carestream” or the “Company”), JPMorgan Chase Bank,
N.A., Credit Suisse AG, Barclays Bank PLC (“Barclays,” “we” or “us”) and Apollo Capital Management,
L.P.], dated as of the date hereof (including the exhibits thereto, the “Commitment Letter”). Any capitalized
term used but not defined herein shall have the meaning assigned to such term in the Commitment Letter.

        1.      Fees. Subject to the occurrence of the Closing Date, you agree to pay:

        (a)     Upfront Fee. To Barclays, for its own account, an upfront fee equal to       of the ag-
gregate principal amount of Barclays’ commitment under the ABL Facility on the Closing Date, which will
be earned on the date hereof and due and payable on the Closing Date; and

        (b)      Transaction Structuring Fee. To Barclays, for its own account, in consideration of Bar-
clay’s assistance in structuring certain exit financings, a transaction structuring fee in an amount equal to
               , which will be earned on the date hereof and due and payable by Carestream on the Closing
Date.

All fees shall be payable in U.S. dollars in immediately available funds free and clear of, and without
deduction for, any and all present or future applicable taxes, levies, imposts, deductions, charges or with-
holdings and all liabilities with respect thereto (with appropriate gross-up for withholding taxes). All fees
shall be fully earned upon becoming due and payable in accordance with the terms hereof and shall be in
addition to any other fees, costs and expenses payable pursuant to the ABL Credit Documentation. Once
paid, all fees will be nonrefundable under all circumstances (except as expressly provided herein with re-
spect to rebate of the annual administrative agent fee for any partial period) and will not be subject to any
counterclaim, setoff or other impairment or right of recession or turnover. Barclays, at its sole discretion,
may allocate, in whole or in part, to its affiliates any fees payable to it for its own account hereunder.

        2.      Waiver of Jury Trial; Governing Law; Submission to Jurisdiction; Surviving Provisions

ANY RIGHT TO TRIAL BY JURY WITH RESPECT TO ANY ACTION, SUIT, PROCEEDING OR
CLAIM ARISING IN CONNECTION WITH OR AS A RESULT OF ANY MATTER REFERRED TO
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IN THIS FEE LETTER OR THE COMMITMENT LETTER IS HEREBY IRREVOCABLY WAIVED
BY THE PARTIES HERETO. THIS FEE LETTER WILL BE GOVERNED BY AND CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK WITHOUT REGARD TO CON-
FLICT OF LAW PRINCIPLES THAT WOULD RESULT IN THE APPLICATION OF ANY LAW
OTHER THAN THE LAW OF THE STATE OF NEW YORK. Each of the parties hereto hereby irrevo-
cably (i) submits, for itself and its property, to the exclusive jurisdiction of (a) the Supreme Court of the
State of New York, New York County and (b) the United States District Court for the Southern District of
New York, located in the Borough of Manhattan, and any appellate court from any such court, in any action,
suit, proceeding or claim arising out of or relating to this Fee Letter, the Commitment Letter or the Trans-
actions or the performance of services contemplated hereunder or under the Commitment Letter, or for
recognition or enforcement of any judgment, and agrees that all claims in respect of any such action, suit,
proceeding or claim may be heard and determined in such New York State court or such Federal court, (ii)
waives, to the fullest extent permitted by law, any objection that it may now or hereafter have to the laying
of venue of any action, suit, proceeding or claim arising out of or relating to this Fee Letter, the Commitment
Letter or the Transactions or the performance of services contemplated hereunder or under the Commitment
Letter in any such New York State or Federal court and (iii) waives, to the fullest extent permitted by law,
the defense of an inconvenient forum to the maintenance of any such action, suit, proceeding or claim in
any such court. Each of the parties hereto agrees to commence any such action, suit, proceeding or claim
either in the United States District Court for the Southern District of New York or in the Supreme Court of
the State of New York, New York County located in the Borough of Manhattan.

The Company agrees that, in connection with any action, suit, proceeding or claim arising out of or relating
to the Transactions or the performance of services contemplated hereunder or under the Commitment Letter,
it (i) will submit to the jurisdiction of (a) the Supreme Court of the State of New York, New York County,
located in the Borough of Manhattan and (b) the United States District Court for the Southern District of
New York and any appellate court from any such court and (ii) agrees to venue in any such New York State
or Federal court.

This Fee Letter is entered into for your benefit only and no other person or entity (other than the Lenders)
may rely hereon.

The provisions of Section 2 of this Fee Letter will survive any termination or completion of the arrange-
ments contemplated by the Commitment Letter, this Fee Letter and the Transactions, including, without
limitation, whether or not the ABL Credit Documentation are executed and delivered and whether or not
the ABL Facility is made available or any loans under the ABL Facility are disbursed.

3.      Miscellaneous

This Fee Letter may be executed in any number of counterparts, each of which when executed will be an
original and all of which, when taken together, will constitute one agreement. Delivery of an executed
counterpart of a signature page of this Fee Letter by facsimile or other electronic transmission will be as
effective as delivery of a manually executed counterpart hereof. The words “execution,” “signed,”
“signature,” and words of like import in or relating to this Fee Letter will be deemed to include electronic
signatures or electronic records, each of which shall be of the same legal effect, validity or enforceability
as a manually executed signature or the use of a paper-based recordkeeping system, as the case may be, to
the extent and as provided for in any applicable law, including the Federal Electronic Signatures in Global
and National Commerce Act, the New York State Electronic Signatures and Records Act, or any other
similar state laws based on the Uniform Electronic Transactions Act. This Fee Letter and the Commitment
Letter are the only agreements that have been entered into among the parties hereto with respect to the ABL
Facility and set forth the entire understanding of the parties with respect thereto and supersede any prior
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written or oral agreements among the parties hereto with respect to the ABL Facility. Those matters that
are not covered or made clear in this Fee Letter or in the Commitment Letter are subject to mutual agreement
of the parties. This Fee Letter is in addition to the agreements of the parties set forth in the Commitment
Letter. No person has been authorized by Barclays to make any oral or written statements that are incon-
sistent with this Fee Letter or the Commitment Letter.

You acknowledge and agree that this Fee Letter is not a commitment by Barclays to provide any financing
or provide or purchase any loans in connection with the ABL Facility, which commitment, if any, will only
be set forth in a separate commitment letter or other agreement.

Please confirm that the foregoing is in accordance with your understanding by signing and returning to
Barclays the enclosed copy of this Fee Letter.

                          [The remainder of this page is intentionally left blank.]




                                                     3
